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    Fill in this information to identify the case:


    United States Bankruptcy Court for the Southern District of Texas

    Case number (if known):                                     Chapter 11

                                                                                                                                                                Check if this is an
                                                                                                                                                                 amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                           06/22

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
 (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                Steward St. Anne’s Hospital Corporation


   2.   All other names debtor used                  Saint Anne’s Hospital Diagnostic Imaging                         Saint Anne’s Hospital Pain Management Center
        in the last 8 years                          Services
                                                     Saint Anne’s Hospital                                            Saint Anne’s Hospital Regional Cancer Care
        Include any assumed names, trade                                                                              Center
        names, and doing business as                 Saint Anne’s Hospital Ambulatory Care Center                     Saint Anne’s Hospital Rehabilitation Services
        names
                                                     Saint Anne’s Hospital Diagnostic Imaging Center                  Saint Anne’s Hospital Southern New England
                                                                                                                      Surgery Center


   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                           place of business


                                                     795        Middle Street                                              1900          N. Pearl Street
                                                     Number     Street                                                     Number        Street


                                                                                                                           Suite 2400
                                                                                                                           P.O. Box


                                                     Fall River            Massachusetts           02721                   Dallas        Texas                   75201
                                                     City                  State                   ZIP Code                City          State                   ZIP Code

                                                                                                                           Location of principal assets, if different from
                                                                                                                           principal place of business
                                                     Bristol
                                                     County
                                                                                                                           Number            Street




                                                                                                                           City              State               ZIP Code



   5.   Debtor’s website (URL)                       https://www.steward.org

   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:


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                                                                      number (if known)
               Steward St. Anne’s Hospital Corporation                                                                          24-_____ ( )
               Name


                                            A. Check one:
7.   Describe debtor’s business
                                            ☒ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ☐ None of the above


                                            B. Check all that apply:
                                            ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               6221 – General Medical and Surgical Hospitals

8.   Under which chapter of the
                                            Check one:
     Bankruptcy Code is the
     debtor filing?                         ☐ Chapter 7
                                            ☐ Chapter 9
                                            ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and
     debtor” must check the first subbox.                      its aggregate noncontingent liquidated debts (excluding debts owed to insiders
     A debtor as defined in § 1182(1) who                      or affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     elects to proceed under subchapter V                      recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not the                         income tax return or if any of these documents do not exist, follow the procedure
     debtor is a “small business debtor”)                      in 11 U.S.C. § 1116(1)(B).
     must check the second sub-box.
                                                             ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                               are less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or
                                                               if any of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                               1116(1)(B).
                                                             ☐ A plan is being filed with this petition.
                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                               the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                               Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                               Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                               with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                               1934 Rule 12b-2.
                                            ☐ Chapter 12
9.   Were prior bankruptcy cases            ☒ No
     filed by or against the debtor
                                            ☐ Yes        District                          When                         Case number
     within the last 8 years?
                                                                                                       MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                         District                          When                         Case number
                                                                                                        MM / DD/ YYYY




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                                                                         number (if known)
                Steward St. Anne’s Hospital Corporation                                                                                    24-_____ ( )
                Name



10. Are any bankruptcy cases                  ☐ No
    pending or being filed by a
    business partner or an                    ☒ Yes          Debtor       See Schedule 1                                      Relationship      See Schedule 1
    affiliate of the debtor?                                 District     Southern District of Texas                          When              May 6, 2024
      List all cases. If more than 1,                                                                                                            MM / DD/ YYYY
                                                             Case number, if known
      attach a separate list.



11.      Why is the case filed in this        Check all that apply:
         district?
                                              ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                              ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                              ☒ No
    possession of any real
    property or personal property             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.

                                                             What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).


                                                         ☐ Other


                                                           Where is the property?
                                                                                           Number                    Street


                                                                                           City                                State               ZIP Code
                                                         Is the property insured?
                                                                                          ☐ No
                                                                                           ☐ Yes. Insurance agency
                                                                                                     Contact Name
                                                                                                     Phone




                 Statistical and administrative information



   13. Debtor’s estimation of                 Check one:
       available funds                        ☒   Funds will be available for distribution to unsecured creditors.
                                              ☐   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                    
                                              ☐   1-49                                 ☐     1,000-5,000                               ☐     25,001-50,000
       creditors                              ☐   50-99                                ☐     5,001-10,000                              ☐     50,001-100,000
          (on a consolidated basis with all   ☐   100-199                              ☐     10,001-25,000                             ☒     More than 100,000
          affiliated debtors)
                                              ☐   200-999


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                                                                        number (if known)
               Steward St. Anne’s Hospital Corporation                                                                               24-_____ ( )
               Name



   15. Estimated assets                      ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒     $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐     More than $50 billion

   16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒     $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐     More than $50 billion



                Request for Relief, Declaration, and Signatures


WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
  17. Declaration and signature of                     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of                      this petition.
      debtor
                                                       I have been authorized to file this petition on behalf of the debtor.

                                                       I have examined the information in this petition and have a reasonable belief that the information is
                                                        true and correct.
                                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                            Executed on May 6, 2024
                                                                        MM / DD/ YYYY


                                                            /s/ John R. Castellano                                     John R. Castellano
                                                            Signature of authorized representative of                  Printed name
                                                             debtor

                                                            Chief Restructuring Officer
                                                            Title




  18. Signature of attorney                             /s/ Gabriel A. Morgan                                        Date      May 6, 2024
                                                       Signature of attorney for debtor                                       MM / DD / YYYY
                                                       Gabriel A. Morgan                                            Ray C. Schrock
                                                         Printed Name
                                                
                                                       Weil, Gotshal & Manges LLP                                   Weil, Gotshal & Manges LLP
                                                         Firm Name
                                                
                                                       700 Louisiana Street, Suite 3700                             767 Fifth Avenue
                                                         Address
                                                
                                                       Houston, Texas 77002                                         New York, New York 10153
                                                         City/State/Zip
                                                
                                                       (713) 546-5000                                               (212) 310-8000
                                                         Contact Phone
                                                
                                                       gabriel.morgan@weil.com                                      ray.schrock@weil.com
                                                         Email Address
                                                
                                                       24125891                            Texas
                                                       Bar Number                          State



Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 4
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                                                 Schedule 1

            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

               On the date hereof, each of the affiliated entities listed below (including the debtor
in this chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under
chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for the
Southern District of Texas (Houston Division) (the “Court”). A motion will be filed with the
Court requesting the chapter 11 case of each entity listed below be consolidated for procedural
purposes only and jointly administered under the case number assigned to the chapter 11 case of
Steward Health Care System LLC.

                  Debtor Entity                                         Debtor Entity
SJ Medical Center, LLC                               Davis Hospital Holdings, Inc.
Downtown Houston Physician Hospital                  Davis Surgical Center Holdings, Inc.
Organization
Steward Health Care Holdings LLC                     De Zavala Medical Center LLC
Steward Health Care System LLC                       Glenwood Specialty Imaging, LLC
Arizona Diagnostic & Surgical Center, Inc.           HC Essential Co.
Beaumont Hospital Holdings, Inc.                     Health Choice Florida, Inc.
Biltmore Surgery Center Holdings, Inc.               Health Choice Louisiana, Inc.
Biltmore Surgery Center, Inc.                        Health Choice Managed Care Solutions LLC
Blackstone Medical Center, Inc.                      Health Choice Northern Arizona LLC
Blackstone Rehabilitation Hospital, Inc.             Health Choice Preferred Accountable Care LLC
Boston Orthopedic Center, LLC                        Health Choice Preferred Louisiana ACO LLC
Boston Sports Medicine and Research Institute,       Health Choice Preferred Louisiana Physician
LLC                                                  Association LLC
Brevard SHC Holdings LLC                             Health Choice Preferred Texas ACO – Alamo
                                                     Region LLC
Brim Healthcare of Colorado, LLC                     Health Choice Preferred Texas ACO – Gulf Coast
                                                     Region LLC
Brim Healthcare of Texas, LLC                        Health Choice Preferred Texas Physician
                                                     Association – Alamo Region LLC
Brim Holding Company, Inc.                           Health Choice Preferred Texas Physician
                                                     Association – Gulf Coast Region LLC
Brim Physicians Group of Colorado, LLC               Health Choice Utah Accountable Care LLC
Choice Care Clinic I, Inc.                           HealthUtah Holdco LLC
Choice Care Clinic II, Inc.                          Heritage Technologies, LLC
Choice Care Clinic III, Inc.                         IASIS Capital Corporation
Choice Care Clinic of Louisiana, Inc.                IASIS Finance II LLC
Choice Care Clinic of Utah, Inc.                     IASIS Finance III LLC
Converse Medical Center LLC                          IASIS Finance, Inc.
Davis Hospital & Medical Center, LP                  IASIS Finance Texas Holdings, LLC
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                    Debtor Entity                                           Debtor Entity
IASIS Glenwood Regional Medical Center, LP                Riverwoods ASC Holdco LLC
IASIS Healthcare Corporation                              Salt Lake Regional Medical Center, LP
IASIS Healthcare Holdings, Inc.                           Salt Lake Regional Physicians, Inc.
IASIS Healthcare LLC                                      Seaboard Development LLC
IASIS Management Company                                  Seaboard Development Port Arthur LLC
IASIS Transco, Inc.                                       SHC Youngstown Ohio Laboratory Services
                                                          Company LLC
Indigent Care Services of Northeast Louisiana, Inc.       SHC Youngstown Ohio Outpatient Services LLC
Jordan Valley Hospital Holdings, Inc.                     SHC Youngstown Ohio PSC LLC
Jordan Valley Medical Center, LP                          Southridge Plaza Holdings, Inc.
Legacy Trails Medical Center LLC                          Southwest General Hospital, LP
Mesa General Hospital, LP                                 St. Luke’s Behavioral Hospital, LP
Morton Hospital, A Steward Family Hospital, Inc.          St. Luke’s Medical Center, LP
Mountain Point Holdings, LLC                              Steward Accountable Care Organization, Inc.
Mountain Vista Medical Center, LP                         Steward Anesthesiology Physicians of Florida, Inc.
MT Transition LP                                          Steward Anesthesiology Physicians of
                                                          Massachusetts, Inc.
Nashoba Valley Medical Center, A Steward Family           Steward Anesthesiology Physicians of Pennsylvania,
Hospital, Inc.                                            Inc.
New England Sinai Hospital, A Steward Family              Steward ASC Holdings LLC
Hospital, Inc.
Odessa Fertility Lab, Inc.                                Steward Carney Hospital, Inc.
Odessa Regional Hospital, LP                              Steward CGH, Inc.
OnSite Care, Inc.                                         Steward Easton Hospital, Inc.
OnSite Care MSO, LLC                                      Steward Emergency Physicians, Inc.
Permian Basin Clinical Services, Inc.                     Steward Emergency Physicians of Arizona, Inc.
Permian Premier Health Services, Inc.                     Steward Emergency Physicians of Florida, Inc.
Physician Group of Arizona, Inc.                          Steward Emergency Physicians of Pennsylvania,
                                                          Inc.
Physician Group of Arkansas, Inc.                         Steward Emergency Physicians Ohio, Inc.
Physician Group of Florida, Inc.                          Steward Employer Solutions LLC
Physician Group of Louisiana, Inc.                        Steward Fall River Management Care Services LLC
Physician Group of Utah, Inc.                             Steward Florida ALF LLC
Podiatric Physicians Management of Arizona, Inc.          Steward Florida ASC LLC
PP Transition, Inc.                                       Steward Florida Holdings LLC
PP Transition LP                                          Steward FMC, Inc.
Quincy Medical Center, A Steward Family                   Steward Good Samaritan Medical Center, Inc.
Hospital, Inc.



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                 Debtor Entity                                        Debtor Entity
Steward Good Samaritan Occupational Health           Steward PET Imaging, LLC
Services, Inc.
Steward Good Samaritan Radiation Oncology            Steward PGH, Inc.
Center, Inc.
Steward Health Care International LLC                Steward Physician Contracting, Inc.
Steward Health Care Network ACO Texas, Inc.          Steward Radiology Physicians of Arizona, Inc.
Steward Health Care Network, Inc.                    Steward Radiology Physicians of Florida, Inc.
Steward Health Care OZ Fund, Inc.                    Steward Radiology Physicians of Massachusetts,
                                                     Inc.
Steward Health Choice, Inc.                          Steward Radiology Physicians of Pennsylvania, Inc.
Steward Healthcare Management Services LLC           Steward Rockledge Hospital, Inc.
Steward HH, Inc.                                     Steward SA FSED Holdings, Inc.
Steward Hillside Rehabilitation Hospital, Inc.       Steward Sebastian River Medical Center, Inc.
Steward Holy Family Hospital, Inc.                   Steward Sharon Regional Health System, Inc.
Steward Hospital Holdings LLC                        Steward Special Projects LLC
Steward Hospital Holdings Subsidiary One, Inc.       Steward St. Anne’s Hospital Corporation
Steward Imaging & Radiology Holdings LLC             Steward St. Elizabeth’s Medical Center of Boston,
                                                     Inc.
Steward Medicaid Care Network, Inc.                  Steward St. Elizabeth’s Realty Corp.
Steward Medical Group Express Care, Inc.             Steward Texas Hospital Holdings LLC
Steward Medical Group, Inc.                          Steward Trumbull Memorial Hospital, Inc.
Steward Medical Group Pennsylvania Endoscopy         Steward TSC Investments LLC
LLC
Steward Medical Holdings LLC                         Steward Valley Regional Ventures, Inc.
Steward Medical Ventures, Inc.                       Steward West Ventures, Co.
Steward Melbourne Hospital, Inc.                     Stewardship Health, Inc.
Steward New England Initiatives, Inc.                Stewardship Health Medical Group, Inc.
Steward Norwood Hospital, Inc.                       Stewardship Services Inc.
Steward NSMC, Inc.                                   The Medical Center of Southeast Texas, LP
Steward Ohio Holdings LLC                            TNC Transition LP
Steward Operations Holdings LLC                      TRACO Investment Management LLC
Steward Pathology Physicians of Massachusetts,       Utah Transcription Services, Inc.
Inc.
Steward Pennsylvania Holdings LLC




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                            Omnibus Action by Written Consent
                             of the Entities listed on Schedule A

                                          May 5, 2024

        The undersigned, being the requisite (i) members of the boards of directors, (ii) members
of the boards of managers, (iii) members, (iv) managing members, (v) stockholders or
shareholders, (vi) general partners or limited partners, and (vii) managers (or the equivalent of
any of the foregoing), as applicable (in each case, a “Governing Body” and collectively, the
“Governing Bodies”), of the entities listed on Schedule A (each, a “Company” and together,
the “Companies”) each hereby consent, in accordance with the applicable provisions of the
organizational documents of the relevant Company and the applicable laws of the jurisdiction
in which such Company is organized, to the following actions and adopt the following
resolutions with respect to the relevant Company in lieu of a meeting, with each such resolution
effective as of the date written above.

  1. Chapter 11 Filing

        WHEREAS, each Governing Body has had the opportunity to review and analyze the
assets, liabilities and liquidity of the Company for which it serves as the Governing Body and
the strategic alternatives available to such Company and the impact of the foregoing on such
Company’s business;

       WHEREAS, each Governing Body has had the opportunity to consult with the
management and the legal and financial advisors of the Company for which it serves as the
Governing Body to fully consider, and has considered, the strategic alternatives available to
such Company;

        WHEREAS, at a meeting of the board (the “Board of Directors”) of Steward Health
Care Holdings LLC (“SHCH”) held on December 19, 2023, the Board of Directors established
a transformation committee consisting of two (2) members of the Board of Directors and one
(1) independent member (together the “Transformation Committee”);

        WHEREAS, on or about February 21, 2024 the Board of Directors adopted an amended
and restated charter (as amended, the “A&R Transformation Committee Charter”) of the
Transformation Committee, pursuant to which the Transformation Committee was delegated
certain responsibilities, powers and authority including, among other things, the power to
negotiate consider, review, evaluate, implement and report to the Board of Directors certain
strategic and financial transactions available to SHCH and its direct and indirect subsidiaries
and their respective businesses, assets, properties and debt obligations, including with respect
to a potential restructuring of SHCH’s and its subsidiaries’ indebtedness and any related actions
the Transformation Committee considers necessary, appropriate or advisable;

       WHEREAS, on the date hereof, the Transformation Committee has recommended to
the Board of Directors that it approve, adopt and ratify resolutions authorizing SHCH to file a
voluntary petition for relief under the provisions of chapter 11 of title 11 of the United States
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 Code (the “Bankruptcy Code”) and the Board of Directors has authorized and approved the
 filing of Chapter 11 Cases (as defined below);

         WHEREAS, each Governing Body believes that taking the actions set forth below is in
 the best interests of the Company for which it serves as the Governing Body and, therefore,
 desires to approve the following resolutions; and

         NOW, THEREFORE, BE IT RESOLVED, that in the respective business judgment of
 each Governing Body, it is desirable and in the best interests of such Company (including in
 consideration of its creditors and other parties in interest) that such Company shall be, and hereby
 is, authorized to file, or cause to be filed, a voluntary petition for relief (each a “Chapter 11
 Case” and collectively, the “Chapter 11 Cases”) under the provisions of the Bankruptcy Code
 in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy
 Court”) and any other petition for relief or recognition or other order that may be desirable
 under applicable law in the United States;

          FURTHER RESOLVED, that any Chief Executive Officer, Vice President, Chief
Financial Officer, Treasurer, Chief Legal Officer, Secretary or Assistant Secretary, Manager,
Director, or other duly appointed officer, including the Chief Restructuring Officer (as defined
below), or other person acting at the direction of any of the foregoing officers of SHCH, of each
Governing Body and of each Company (collectively, the “Authorized Signatories”), acting
alone or with one or more other Authorized Signatories be, and each hereby is, authorized,
empowered, and directed, with full power of delegation, in the name and on behalf of each
Company, to execute and file all petitions, schedules, lists and other motions, papers, or
documents, and to take and perform any and all actions that such Authorized Signatory deems
necessary, proper or desirable in connection with each Company’s Chapter 11 Case or filings
therefor, including, without limitation (i) the payment of fees, expenses, and taxes such
Authorized Signatory deems necessary, appropriate, or desirable, and (ii) negotiating, executing,
delivering, performing, and filing any and all additional documents, schedules, statements, lists,
papers, agreements, certificates, or instruments (or any amendments or modifications thereto) in
connection with, or in furtherance of, the Chapter 11 Cases with a view to the successful
prosecution of the Chapter 11 Cases (such acts to be conclusive evidence that such Authorized
Signatory has been deemed to meet such standard); and

           FURTHER RESOLVED, that all acts and deeds previously performed by any of the
Authorized Signatories or officers of each Company prior to the adoption of the foregoing
resolutions that are within the authority conferred by the foregoing resolutions, are hereby
ratified, confirmed, and approved in all respects as the authorized acts and deeds of the relevant
Company.

   2. Retention of Professionals

         NOW, THEREFORE, BE IT RESOLVED, that the retention of Weil, Gotshal &
 Manges LLP (“Weil”), as attorneys for each Company in the Chapter 11 Cases pursuant to the
 engagement letter between SHCH and Weil, subject to Bankruptcy Court approval, is hereby
 ratified, authorized and approved;


                                                  2
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        FURTHER RESOLVED, that the retention of AP Services, LLC (“AlixPartners”), as
financial advisor for each Company in the Chapter 11 Cases pursuant to the engagement letter
between SHCH and AlixPartners, subject to Bankruptcy Court approval, is hereby ratified,
authorized and approved;

         FURTHER RESOLVED, that the retention of Lazard Frères & Co. LLC (“Lazard”),
as investment banker for each Company in the Chapter 11 Cases pursuant to the engagement
letter between SHCH, Lazard and Weil, subject to Bankruptcy Court approval, is hereby ratified,
authorized and approved;

       FURTHER RESOLVED, that the retention of Leerink Partners LLC (“Leerink”), as
healthcare investment banker for each Company in the Chapter 11 Cases, pursuant to the
engagement letter between SHCH, Leerink and Weil, subject to Bankruptcy Court approval, is
hereby ratified, authorized and approved;

      FURTHER RESOLVED, that the retention of Cain Brothers (“Cain”), a division of
KeyBanc Capital markets Inc., as hospital investment banker for each Company in the Chapter
11 Cases, pursuant to the engagement letter between SHCH, Cain and Weil, subject to
Bankruptcy Court approval, is hereby ratified, authorized and approved;

        FURTHER RESOLVED, that the retention of McDermott Will & Emery LLP
(“MWE”), as special corporate and regulatory counsel for each Company in the Chapter 11
Cases, pursuant to the engagement letter between SHC LLC (as defined below) and MWE,
subject to Bankruptcy Court approval, is hereby ratified, authorized and approved;

       FURTHER RESOLVED, that the retention of Kroll Restructuring Administration
LLC (“Kroll”), as claims and noticing agent in the Chapter 11 Cases, pursuant to the
engagement letter between SHC LLC (as defined below) and Kroll, subject to Bankruptcy
Court approval, is hereby ratified, authorized and approved;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered, and directed to retain professionals and advisors to assist each
Company in carrying out its duties under the Bankruptcy Code; and in connection therewith,
each of the Authorized Signatories, with power of delegation, is hereby authorized, empowered
and directed to execute appropriate retention agreements, pay appropriate retainers and fees, and
to cause to be filed an appropriate application for authority to retain the services of any
professionals as necessary, proper or desirable; and

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
with the power of delegation, authorized, empowered, and directed to execute and file all
petitions, schedules, motions, lists, applications, pleadings, and other papers, and, in connection
therewith, to employ and retain (including payment of appropriate retainers and fees) all
assistance by legal counsel, accountants, financial advisors, and other professionals and to take
and perform any and all further acts and deeds that each of the Authorized Signatories deem
necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a


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view to the successful prosecution of such case.

  3. Appointment of Chief Restructuring Officer

       WHEREAS, each Governing Body believes that it is advisable and in the best interests
of the Company for which it serves as the Governing Body to appoint John R. Castellano as
Chief Restructuring Officer of such Company with the roles and responsibilities as described in
the engagement letter by and between AlixPartners and SHCH (as amended by Addendum 1 on
May 1, 2024 and Addendum 2 on May 5, 2024, the “CRO Engagement Letter”);

        NOW, THEREFORE, BE IT RESOLVED, that each Governing Body, as applicable,
hereby designates John R. Castellano as Chief Restructuring Officer of the Company for which
it serves as the Governing Body;

         FURTHER RESOLVED, that each Governing Body, as applicable, hereby authorizes
and approves in all respects (i) the form, terms, and provisions of the CRO Engagement Letter;
(ii) the execution and delivery by the Company for which it serves as the Governing Body of
the CRO Engagement Letter; and (iii) the performance by such Company of its duties and
obligations thereunder;

        FURTHER RESOLVED, that the Chief Restructuring Officer is authorized and
directed to perform all acts and deeds and to execute and deliver all necessary documents on
behalf of each Company in accordance with the scope outlined in the CRO Engagement Letter;
and

        FURTHER RESOLVED, that the Chief Restructuring Officer shall report to each
Governing Body or other officers, as directed by the applicable Governing Body and, at the
request of a Governing Body, shall make recommendations to and consult with such Governing
Body.

  4. Debtor-in-Possession Financing and Cash Collateral

       WHEREAS, each Company proposes to enter into a secured debtor-in-possession
financing transaction (such transaction, the “DIP Financing”) as of or about the commencement
of the Chapter 11 Cases to be evidenced by a binding term sheet, promissory note and/or credit
agreement (as may be amended, restated, amended and restated, supplemented, or otherwise
modified from time to time, the “DIP Financing Agreements”), on terms and conditions
substantially consistent with those presented to each Governing Body, with any amendments,
modifications, alterations or changes thereto as may be approved by the Transformation
Committee or any Authorized Signatory (which, as used throughout in this Section 4, with respect
to any Company, shall be deemed to include any Authorized Signatory of any parent entity of
such Company), and subject to approval of the Bankruptcy Court;

      WHEREAS, each such Company desires to guaranty the payment and performance of the
obligations (other than such Company’s own primary obligations) under the DIP Financing
Agreements and the other Additional DIP Financing Documents (as defined below) and grant


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 security interests in and liens upon substantially all of their assets as collateral for the obligations
 under the DIP Financing Agreements and the other Additional DIP Financing Documents; and

       WHEREAS, it is hereby deemed that the DIP Financing Agreements and the Additional
DIP Financing Documents and, to the extent such Company is a party thereto, the execution and
delivery thereof, the performance of such Company’s obligations thereunder and the transactions
contemplated thereby, are advisable and in the best interests of such Company.

        NOW, THEREFORE, BE IT RESOLVED, that (a) the form, terms, and conditions of,
the DIP Financing Agreements, together with any amendments, modifications, alterations, or
changes thereto as may be approved by any Authorized Signatory, (b) the execution, delivery, and
performance by such Company, to the extent it is party thereto, of the DIP Financing Agreements
and the Additional DIP Financing Documents, and the consummation of the transactions
contemplated thereunder, including the borrowing (and repayment) of any loans or funds or any
other extension of credit under the DIP Financing Agreements and any Additional DIP Financing
Document, the guaranty of any obligations under the DIP Financing Agreements and any
Additional DIP Financing Document, and the use of proceeds to provide liquidity for each
Company and their subsidiaries and affiliates throughout the Chapter 11 Cases, (c) the grant of
security interests in all or any portion of such Company’s assets to secure any obligations under
the DIP Financing Agreements and any Additional DIP Financing Documents, (d) if applicable,
the repayment, refinancing, termination, or other treatment of existing third-party debt of such
Company and any other existing indebtedness pursuant to the terms of the DIP Financing
Agreements and/or any Additional DIP Financing Document, and (e) the execution, delivery, and
performance by such Company, to the extent it is party thereto, of all agreements, security,
guarantee or collateral documents, mortgages, financing statements, documents, promissory notes,
instruments, notices, certificates, stock powers, payoff letters, fee letters, engagement letters, and
all other related documents, including exhibits and schedules thereto or that are otherwise
necessary, advisable, desirable, or appropriate (in the determination of any Authorized Signatory)
to be executed and delivered by such Company in connection with the DIP Financing Agreements,
in each case, in such form and substance as may be approved by any Authorized Signatory (each
an “Additional DIP Financing Document” and collectively, the “Additional DIP Financing
Documents”), are hereby in all respects authorized and approved, and that each Authorized
Signatory, any one of whom may act without the joinder of any of the others, be, and they hereby
are, authorized, empowered, and directed to do and perform, or cause to be done and performed
all such acts and things and to sign and deliver or cause to be signed and delivered, all such
documents, agreements, certificates, and other instruments, and to take all such other actions as
are necessary, advisable, desirable, or appropriate in order to effectuate the purpose and intent of
the foregoing resolutions;

        FURTHER RESOLVED, that the granting by such Company of liens on and security
interests in any or all of its assets to secure any obligations under the DIP Financing Agreements
and any Additional DIP Financing Documents and the filing and recording of any UCC financing
statements, fixture filings, intellectual property filings, or any other documents and the taking of
any other actions necessary, advisable, desirable, or appropriate to perfect such security interests,
are hereby authorized and approved, and each Authorized Signatory is authorized on behalf of
such Company to execute and deliver any such other perfection documents or instruments,


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including, without limitation, continuation statements, and pay such fees, taxes, and expenses, as
necessary;

         FURTHER RESOLVED, that the pledge by such Company of any equity interest held
by it, the transfer of such equity interest to the administrative agent or collateral agent for the DIP
Financing (the “DIP Agent”) or any nominee thereof and any transfer from time to time by the
DIP Agent or its nominee to any other person pursuant to the exercise of any rights under the DIP
Financing Agreements and all steps required of such Company to give effect to such pledge and
transfers, including the issuance of certificates of ownership and the entering of the names of any
transferees onto the subsidiaries’ equity holder registers, are hereby approved; and that each
Authorized Signatory is hereby authorized, empowered, and directed on behalf of such Company,
to execute and deliver any such other transfer documents or instruments;

         FURTHER RESOLVED, that each Authorized Signatory, in each case, acting singly or
jointly, be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of
such Company, to take all actions (including, without limitation, (a) the negotiation, execution,
delivery, and filing of any agreements, letters, certificates, or other instruments or documents,
including the filing of UCC financing statements, fixture filings, intellectual property filings or
mortgage, (b) any increase in the principal amount of any obligation, (c) the modification or
amendment of any of the terms and conditions of the DIP Financing Agreements and/or any
Additional DIP Financing Document to the extent such Company is a party, (d) the payment of
any consideration, and (e) the payment of expenses, fees, and taxes) as any such Authorized
Signatory may deem necessary, advisable, desirable, or appropriate (such acts to be conclusive
evidence that such Authorized Signatory, in his or her sole discretion, deemed the same to be
necessary, advisable, desirable, or appropriate) in order to effect the transactions contemplated
under the DIP Financing Agreements or any Additional DIP Financing Document to the extent
such Company is a party, and all acts of any such Authorized Signatory taken pursuant to the
authority granted herein, or having occurred prior to the date hereof in order to effect such
transactions, are hereby approved, adopted, ratified, and confirmed in all respects as the acts and
deeds of such Company;

      FURTHER RESOLVED, that the execution, delivery, and performance of each of the
documents described in the foregoing resolutions is necessary or convenient to the conduct,
promotion, or attainment of the business and purposes of the Companies;

        FURTHER RESOLVED, that, to the extent applicable, the Authorized Signatories may
seek Bankruptcy Court approval, for the use of the cash collateral by the Companies under (i) that
certain Credit Agreement, dated as of February 21, 2024 (as amended, restated, amended and
restated, supplemented, refinanced or otherwise modified from time to time), by and among
Steward Health Care Network, Inc., a Delaware corporation, Steward Emergency Physicians, Inc.,
a Massachusetts corporation, Steward Physician Contracting, Inc., a Massachusetts corporation,
Steward Medicaid Care Network, Inc., a Delaware corporation, Stewardship Health, Inc., a
Delaware corporation, Stewardship Health Medical Group, Inc., a Massachusetts corporation, and
Stewardship Services Inc., a Delaware corporation (collectively, the “Stewardship Borrower”),
the other Loan Parties (as defined therein) party thereto, the Lenders (as defined therein) party
thereto, and Brigade Agency Services LLC, as the Administrative Agent (as defined therein) and


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the Collateral Agent (as defined therein), (ii) that certain Credit Agreement, dated as of August 4,
2023 (as amended, restated, amended and restated, supplemented, refinanced or otherwise
modified from time to time), by and among Steward Health Care System LLC, a Delaware limited
liability company (“SHC LLC”), as the borrower, the other affiliates and subsidiaries of the
borrower party thereto, the lenders party thereto, Sound Point Agency LLC, as administrative
agent, and Chamberlain Commercial Funding (Cayman) L.P., as collateral agent, (iii) that certain
Amended and Restated Promissory Note, dated as of April 25, 2024 (as amended, restated,
amended and restated, supplemented, refinanced or otherwise modified from time to time), by the
Stewardship Borrower in favor of MPT TRS Lender-Steward, LLC, a Delaware limited liability
company (the “MPT Lender”), and (iv) that certain Third Amended and Restated Promissory
Note, dated as of January 22, 2024 (as amended, restated, amended and restated, supplemented,
refinanced or otherwise modified from time to time), by SHC LLC and the MPT Lender;

       FURTHER RESOLVED, that the signature of any Authorized Signatory of such
Company to the DIP Financing Agreements, the Additional DIP Financing Documents or any
other documents in connection therewith shall be conclusive evidence of the authority of such
Authorized Signatory, in the name and on behalf of such Company, to execute and deliver such
document to which such Company is a party; and

         FURTHER RESOLVED, that any and all past actions heretofore taken by any Authorized
Signatory of such Company, in the name and on behalf of such Company, or for the benefit of,
such Company or in furtherance of any or all of the preceding resolutions be, and the same hereby
are, ratified, confirmed, and approved in all respects.

   5. Termination of the Deferred Compensation Plans and Notification of Insolvency to
      Trustees of Trusts

        WHEREAS, SHC LLC maintains the Steward Health Care Deferred Compensation
Plan, as amended and restated effective December 31, 2015 (the “Steward DC Plan”), and IASIS
Healthcare LLC (“IASIS”) maintains the IASIS Healthcare Executive Savings Plan, effective July
1, 2006 (the “IASIS DC Plan”, together with the Steward DC Plan, the “Deferred Compensation
Plans”);

        WHEREAS, Section 8.02 of the Steward DC Plan and Section 9.02(b) of the IASIS DC
Plan provide that SHC LLC and IASIS may terminate the Steward DC Plan and the IASIS DC
Plan, respectively, at any time in a manner that is consistent with Section 409A of the Internal
Revenue Code of 1986, as amended;

       WHEREAS, each of SHC LLC and IASIS desires to terminate the applicable Deferred
Compensation Plan subject to Bankruptcy Court approval, effective as of the date hereof, and in
accordance with Treasury Regulation Section 1.409A-3(j)(4)(ix)(A); and

       WHEREAS, Section 3.2(a) of the Amended and Restated Rabbi Trust Agreement by and
between SHC LLC and Matrix Trust Company, effective as of December 20, 2016 (the “Steward
Trust”) and Section 3.2(1) of the of the IASIS Healthcare Executive Savings Plan Trust
Agreement by and between IASIS Healthcare, Inc. and Wells Fargo Bank, N.A., as acquired by

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Principal Financial Group in 2021, effective as of July 31, 2006 (the “IASIS Trust” and together
with the Steward Trust, the “Trusts”), provide that highest ranking officer of each of SHC LLC
and IASIS is obligated to inform in writing the trustee of the applicable Trust (together, the
“Trustees”) of the “Insolvency” of SHC LLC and IASIS, as applicable, which includes SHC
LLC and IASIS being subject to a pending proceeding as debtor under the Bankruptcy Code; and

        WHEREAS, following the filing of their respective Chapter 11 Cases, each of SHC LLC
and IASIS desires to direct its highest ranking officer to notify the applicable Trustee in writing
of the insolvency of SHC LLC and IASIS, as applicable.

        NOW, THEREFORE, BE IT RESOLVED, that the Deferred Compensation Plans are
hereby irrevocably terminated, subject to the approval of the Bankruptcy Court and effective as of
the date hereof; and

        FURTHER RESOLVED, that, following the filing of their respective Chapter 11 Cases,
the highest ranking officer of each of SHC LLC and IASIS is authorized to notify the applicable
Trustee in writing of the insolvency of SHC LLC and IASIS, as applicable.

   6. General Resolutions

         NOW, THEREFORE, BE IT RESOLVED, that the Authorized Signatories be, and
 each of them hereby is, authorized, empowered, and directed to execute, acknowledge, verify,
 deliver, and file any and all such other agreements, documents, instruments, and/or certificates
 and to take such other actions as may be necessary, proper or appropriate in order to carry out
 the intent and purposes of any of the foregoing resolutions;


         FURTHER RESOLVED, that, to the extent that any Company serves as the sole
 member, sole manager, managing member, general partner, partner or other governing body
 (collectively, a “Controlling Company”), in each case, of any other company (a “Controlled
 Company”), each Authorized Signatory of such Company, who may act without the joinder of
 any other Authorized Signatory, be, and hereby is, authorized, empowered and directed in the
 name and on behalf of such Controlling Company (acting for such Controlled Company in the
 capacity set forth above, as applicable), to (i) authorize such Controlled Company to take any
 action that such Company is authorized to take hereunder and (ii) take any action on behalf of
 such Controlled Company that an Authorized Signatory is herein authorized to take on behalf
 of such Controlling Company;

         FURTHER RESOLVED, that any and all actions heretofore or hereafter taken and
 expenses incurred in the name of and on behalf of each Company by any officer, director or
 other Authorized Signatory of any such Company in connection with or related to the matters
 set forth or contemplated by any of the foregoing resolutions be, and they hereby are, approved,
 ratified, and confirmed in all respects as fully as if such actions had been presented to and
 approved by the Governing Bodies prior to such actions being taken; and

        FURTHER RESOLVED, that any Authorized Signatory of any of the Companies is


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hereby authorized to certify to third parties with respect to adoption of any of the foregoing
resolutions in the form and substance satisfactory to them.




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                                         *     *       *       *

    Each undersigned (being the Governing Body for the Company for which it serves as the
Governing Body) agrees that this Omnibus Action by Written Consent shall be added to the
corporate records of each such Company and made a part thereof, and the undersigned further
agrees that the resolutions set forth herein shall have the same force and effect as if adopted at
a meeting duly noticed, held, called and constituted pursuant to each such Company’s respective
organizational documents and the applicable laws of the jurisdiction in which each such
Company is organized. Facsimile, scanned, or electronic signatures shall be acceptable as
originals.




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                          SCHEDULE A
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                                         Company Name

1. Arizona Diagnostic & Surgical Center, Inc.
2. Beaumont Hospital Holdings, Inc.
3. Biltmore Surgery Center Holdings, Inc.
4. Biltmore Surgery Center, Inc.
5. Blackstone Medical Center, Inc.
6. Blackstone Rehabilitation Hospital, Inc.
7. Boston Orthopedic Center, LLC
8. Boston Sports Medicine and Research Institute, LLC
9. Brevard SHC Holdings LLC
10. Brim Healthcare of Colorado, LLC
11. Brim Healthcare of Texas, LLC
12. Brim Holding Company, Inc.
13. Brim Physicians Group of Colorado, LLC
14. Choice Care Clinic I, Inc.
15. Choice Care Clinic II, Inc.
16. Choice Care Clinic III, Inc.
17. Choice Care Clinic of Louisiana, Inc.
18. Choice Care Clinic of Utah, Inc.
19. Converse Medical Center LLC
20. Davis Hospital & Medical Center, LP
21. Davis Hospital Holdings, Inc.
22. Davis Surgical Center Holdings, Inc.
23. De Zavala Medical Center LLC
24. Downtown Houston Physician Hospital Organization
25. Glenwood Specialty Imaging, LLC
26. HC Essential Co.
27. Health Choice Florida, Inc.
28. Health Choice Louisiana, Inc.
29. Health Choice Managed Care Solutions LLC
30. Health Choice Northern Arizona LLC
31. Health Choice Preferred Accountable Care LLC
32. Health Choice Preferred Louisiana ACO LLC
33. Health Choice Preferred Louisiana Physician Association LLC
34. Health Choice Preferred Texas ACO – Alamo Region LLC
35. Health Choice Preferred Texas ACO – Gulf Coast Region LLC
36. Health Choice Preferred Texas Physician Association – Alamo Region LLC
37. Health Choice Preferred Texas Physician Association – Gulf Coast Region LLC
38. Health Choice Utah Accountable Care LLC
39. HealthUtah Holdco LLC
40. Heritage Technologies, LLC
41. IASIS Capital Corporation
42. IASIS Finance II LLC
43. IASIS Finance III LLC
44. IASIS Finance Texas Holdings, LLC
45. IASIS Finance, Inc.
46. IASIS Glenwood Regional Medical Center, LP
47. IASIS Healthcare Corporation
48. IASIS Healthcare Holdings, Inc.
49. IASIS Healthcare LLC
50. IASIS Management Company
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                                           Company Name
51. IASIS Transco, Inc.
52. Indigent Care Services of Northeast Louisiana, Inc.
53. Jordan Valley Hospital Holdings, Inc.
54. Jordan Valley Medical Center, LP
55. Legacy Trails Medical Center LLC
56. Mesa General Hospital, LP
57. Morton Hospital, A Steward Family Hospital, Inc.
58. Mountain Point Holdings, LLC
59. Mountain Vista Medical Center, LP
60. MT Transition LP
61. Nashoba Valley Medical Center, A Steward Family Hospital, Inc.
62. New England Sinai Hospital, A Steward Family Hospital, Inc.
63. Odessa Fertility Lab, Inc.
64. Odessa Regional Hospital, LP
65. Onsite Care MSO, LLC
66. OnSite Care, Inc.
67. Permian Basin Clinical Services, Inc.
68. Permian Premier Health Services, Inc.
69. Physician Group of Arizona, Inc.
70. Physician Group of Arkansas, Inc.
71. Physician Group of Florida, Inc.
72. Physician Group of Louisiana, Inc.
73. Physician Group of Utah, Inc.
74. Podiatric Physicians Management of Arizona, Inc.
75. PP Transition LP
76. PP Transition, Inc.
77. Quincy Medical Center, A Steward Family Hospital, Inc.
78. Riverwoods ASC Holdco LLC
79. Salt Lake Regional Medical Center, LP
80. Salt Lake Regional Physicians, Inc.
81. Seaboard Development LLC
82. Seaboard Development Port Arthur LLC
83. SHC Youngstown Ohio Laboratory Services Company LLC
84. SHC Youngstown Ohio Outpatient Services LLC
85. SHC Youngstown Ohio PSC LLC
86. SJ Medical Center, LLC
87. Southridge Plaza Holdings, Inc.
88. Southwest General Hospital, LP
89. St. Luke's Behavioral Hospital, LP
90. St. Luke's Medical Center, LP
91. Steward Accountable Care Organization, Inc.
92. Steward Anesthesiology Physicians of Florida, Inc.
93. Steward Anesthesiology Physicians of Massachusetts, Inc.
94. Steward Anesthesiology Physicians of Pennsylvania, Inc.
95. Steward ASC Holdings LLC
96. Steward Carney Hospital, Inc.
97. Steward CGH, Inc.
98. Steward Easton Hospital, Inc.
99. Steward Emergency Physicians of Arizona, Inc.
100. Steward Emergency Physicians of Florida, Inc.
101. Steward Emergency Physicians of Pennsylvania, Inc.
102. Steward Emergency Physicians Ohio, Inc.
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                                            Company Name
103. Steward Emergency Physicians, Inc.
104. Steward Employer Solutions LLC
105. Steward Fall River Management Care Services LLC
106. Steward Florida ALF LLC
107. Steward Florida ASC LLC
108. Steward Florida Holdings LLC
109. Steward FMC, Inc.
110. Steward Good Samaritan Medical Center, Inc.
111. Steward Good Samaritan Occupational Health Services, Inc.
112. Steward Good Samaritan Radiation Oncology Center, Inc.
113. Steward Health Care International LLC
114. Steward Health Care Network ACO Texas, Inc.
115. Steward Health Care Network, Inc.
116. Steward Health Care OZ Fund, Inc.
117. Steward Health Care System LLC
118. Steward Health Choice, Inc.
119. Steward Healthcare Management Services LLC
120. Steward HH, Inc.
121. Steward Hillside Rehabilitation Hospital, Inc.
122. Steward Holy Family Hospital, Inc.
123. Steward Hospital Holdings LLC
124. Steward Hospital Holdings Subsidiary One, Inc.
125. Steward Imaging & Radiology Holdings LLC
126. Steward Medicaid Care Network, Inc.
127. Steward Medical Group Express Care, Inc.
128. Steward Medical Group Pennsylvania Endoscopy LLC
129. Steward Medical Group, Inc.
130. Steward Medical Holdings LLC
131. Steward Medical Ventures, Inc.
132. Steward Melbourne Hospital, Inc.
133. Steward New England Initiatives, Inc.
134. Steward Norwood Hospital, Inc.
135. Steward NSMC, Inc.
136. Steward Ohio Holdings LLC
137. Steward Operations Holdings LLC
138. Steward Pathology Physicians of Massachusetts, Inc.
139. Steward Pennsylvania Holdings LLC
140. Steward PET Imaging, LLC
141. Steward PGH, Inc.
142. Steward Physician Contracting, Inc.
143. Steward Radiology Physicians of Arizona, Inc.
144. Steward Radiology Physicians of Florida, Inc.
145. Steward Radiology Physicians of Massachusetts, Inc.
146. Steward Radiology Physicians of Pennsylvania, Inc.
147. Steward Rockledge Hospital, Inc.
148. Steward SA FSED Holdings, Inc.
149. Steward Sebastian River Medical Center, Inc.
150. Steward Sharon Regional Health System, Inc.
151. Steward Special Projects LLC
152. Steward St. Anne's Hospital Corporation
153. Steward St. Elizabeth's Medical Center of Boston, Inc.
154. Steward St. Elizabeth's Realty Corp.
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                                          Company Name
155. Steward Texas Hospital Holdings LLC
156. Steward Trumbull Memorial Hospital, Inc.
157. Steward TSC Investments LLC
158. Steward Valley Regional Ventures, Inc.
159. Steward West Ventures, Co.
160. Stewardship Health Medical Group, Inc.
161. Stewardship Health, Inc.
162. Stewardship Services Inc.
163. The Medical Center of Southeast Texas, LP
164. TNC Transition LP
165. TRACO Investment Management LLC
166. Utah Transcription Services, Inc.

                                   [Signature pages follow]
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                                                                       BOARD OF DIRECTORS OF
                                                                       ARIZONA DIAGNOSTIC &
                                                                       SURGICAL CENTER, INC.:


                                                                       By:
                                                                       Name: Michael Callum, M.D.


                                                                       By:
                                                                       Name: Ralph de la Torre, M.D.




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       BEAUMONT HOSPITAL HOLDINGS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       BILTMORE SURGERY CENTER
                                                                       HOLDINGS, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       BILTMORE SURGERY CENTER, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       BLACKSTONE MEDICAL CENTER,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.


                                                                       STOCKHOLDER OF BLACKSTONE
                                                                       MEDICAL CENTER, INC.:

                                                                       Steward Medical Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       BLACKSTONE REHABILITATION
                                                                       HOSPITAL, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.

                                                                       STOCKHOLDER OF BLACKSTONE
                                                                       REHABILITATION HOSPITAL, INC.:

                                                                       Steward Medical Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       MANAGING MEMBER OF BOSTON
                                                                       ORTHOPEDIC CENTER, LLC:

                                                                       Steward Medical Ventures, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer



                                                                       MEMBER OF BOSTON ORTHOPEDIC
                                                                       CENTER, LLC:

                                                                       Steward Medical Ventures, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       SOLE MEMBER OF BOSTON SPORTS
                                                                       MEDICINE AND RESEARCH
                                                                       INSTITUTE, LLC:

                                                                       Steward Medical Group, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF BREVARD
                                                                       SHC HOLDINGS LLC:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer


                                                                       MEMBER OF BREVARD SHC
                                                                       HOLDINGS LLC:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF BRIM HEALTHCARE
                                                                       OF COLORADO, LLC:

                                                                       Brim Holding Company, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF BRIM HEALTHCARE
                                                                       OF TEXAS, LLC:

                                                                       Brim Holding Company, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer


                                                                       MANAGER OF BRIM HEALTHCARE
                                                                       OF TEXAS, LLC:

                                                                       Brim Holding Company, Inc.


                                                                       By:
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF BRIM
                                                                       HOLDING COMPANY, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF BRIM HOLDING
                                                                       COMPANY, INC.:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF BRIM PHYSICIANS
                                                                       GROUP OF COLORADO, LLC:

                                                                       Brim Holding Company, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF CHOICE
                                                                       CARE CLINIC I, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph August, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.



                                                                       MEMBER OF CHOICE CARE CLINIC
                                                                       I, INC.:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF CHOICE
                                                                       CARE CLINIC II, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph August, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.



                                                                       MEMBER OF CHOICE CARE CLINIC
                                                                       II, INC.:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF CHOICE
                                                                       CARE CLINIC III, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph August, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.




                                                                       MEMBER OF CHOICE CARE CLINIC
                                                                       III, INC.:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF CHOICE
                                                                       CARE CLINIC OF LOUISIANA, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF CHOICE
                                                                       CARE CLINIC OF UTAH, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       MEMBER OF CONVERSE MEDICAL
                                                                       CENTER LLC:

                                                                       Steward SA FSED Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       GENERAL PARTNER OF DAVIS
                                                                       HOSPITAL & MEDICAL CENTER, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer


                                                                       LIMITED PARTNER OF DAVIS
                                                                       HOSPITAL & MEDICAL CENTER, LP:

                                                                       Davis Hospital Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer


                                                                       TRACO International Group S. de R.L.


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.
                                                                       Title: President




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                                                                       BOARD OF DIRECTORS OF DAVIS
                                                                       HOSPITAL HOLDINGS, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF DAVIS
                                                                       SURGICAL CENTER HOLDINGS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       MEMBER OF DE ZAVALA MEDICAL
                                                                       CENTER LLC:

                                                                       Steward SA FSED Holdings, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       DOWNTOWN HOUSTON PHYSICIAN
                                                                       HOSPITAL ORGANIZATION:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Joseph August, M.D.


                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.

                                                                       MEMBER OF DOWNTOWN
                                                                       HOUSTON PHYSICIAN HOSPITAL
                                                                       ORGANIZATION:

                                                                       SJ Medical Center LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF GLENWOOD
                                                                       SPECIALTY IMAGING, LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MANAGER OF GLENWOOD
                                                                       SPECIALTY IMAGING, LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF HC
                                                                       ESSENTIAL CO.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF HEALTH
                                                                       CHOICE FLORIDA, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF HEALTH CHOICE
                                                                       LOUISIANA, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       MANAGED CARE SOLUTIONS LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       NORTHERN ARIZONA LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       PREFERRED ACCOUNTABLE CARE
                                                                       LLC:

                                                                       Steward West Ventures, Co.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       PREFERRED LOUISIANA ACO LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       PREFERRED LOUISIANA PHYSICIAN
                                                                       ASSOCIATION LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       PREFERRED TEXAS ACO – ALAMO
                                                                       REGION LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       PREFERRED TEXAS ACO – GULF
                                                                       COAST REGION LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       PREFERRED TEXAS PHYSICIAN
                                                                       ASSOCIATION – ALAMO REGION
                                                                       LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       PREFERRED TEXAS PHYSICIAN
                                                                       ASSOCIATION – GULF COAST
                                                                       REGION LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTH CHOICE
                                                                       UTAH ACCOUNTABLE CARE LLC:

                                                                       Steward West Ventures, Co.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HEALTHUTAH
                                                                       HOLDCO LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF HERITAGE
                                                                       TECHNOLOGIES, LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF IASIS
                                                                       CAPITAL CORPORATION:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       MEMBER OF IASIS FINANCE II LLC:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF IASIS FINANCE III LLC:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF IASIS FINANCE TEXAS
                                                                       HOLDINGS, LLC:

                                                                       IASIS Finance Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF IASIS
                                                                       FINANCE, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       GENERAL PARTNER OF IASIS
                                                                       GLENWOOD REGIONAL MEDICAL
                                                                       CENTER, LP:

                                                                       IASIS Healthcare Holdings, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF IASIS
                                                                       GLENWOOD REGIONAL MEDICAL
                                                                       CENTER, LP:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF IASIS
                                                                       HEALTHCARE CORPORATION:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.

                                                                       STOCKHOLDER OF IASIS
                                                                       HEALTHCARE CORPORATION:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF IASIS
                                                                       HEALTHCARE HOLDINGS, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       MEMBER OF IASIS HEALTHCARE
                                                                       LLC:

                                                                       IASIS Healthcare Corporation


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF IASIS
                                                                       MANAGEMENT COMPANY:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF IASIS
                                                                       TRANSCO, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       INDIGENT CARE SERVICES OF
                                                                       NORTHEAST LOUISIANA, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF JORDAN
                                                                       VALLEY HOSPITAL HOLDINGS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       GENERAL PARTNER OF JORDAN
                                                                       VALLEY MEDICAL CENTER, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNERS OF JORDAN
                                                                       VALLEY MEDICAL CENTER, LP:

                                                                       Jordan Valley Hospital Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF LEGACY TRAILS
                                                                       MEDICAL CENTER LLC:

                                                                       Steward SA FSED Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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DocuSign Envelope ID: A93BBFBF-1E20-40B2-8F14-1C549C516924
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                                                                       GENERAL PARTNER OF MESA
                                                                       GENERAL HOSPITAL, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF MESA
                                                                       GENERAL HOSPITAL, LP:

                                                                       IASIS Healthcare Corporation

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF MORTON
                                                                       HOSPITAL, A STEWARD FAMILY
                                                                       HOSPITAL, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF MORTON
                                                                       HOSPITAL, A STEWARD FAMILY
                                                                       HOSPITAL, INC.:

                                                                       Steward Medical Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       MEMBER OF MOUNTAIN POINT
                                                                       HOLDINGS, LLC:

                                                                       Seaboard Development LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       GENERAL PARTNER OF MOUNTAIN
                                                                       VISTA MEDICAL CENTER, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNERS OF MOUNTAIN
                                                                       VISTA MEDICAL CENTER, LP:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       GENERAL PARTNER OF MT
                                                                       TRANSITION LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF MT
                                                                       TRANSITION LP:

                                                                       IASIS Healthcare Corporation

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       NASHOBA VALLEY MEDICAL
                                                                       CENTER, A STEWARD FAMILY
                                                                       HOSPITAL, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF NASHOBA
                                                                       VALLEY MEDICAL CENTER, A
                                                                       STEWARD FAMILY HOSPITAL, INC.:

                                                                       Steward Medical Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF NEW
                                                                       ENGLAND SINAI HOSPITAL, A
                                                                       STEWARD FAMILY HOSPITAL, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF NEW ENGLAND
                                                                       SINAI HOSPITAL, A STEWARD
                                                                       FAMILY HOSPITAL, INC.:

                                                                       Steward Medical Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF ODESSA
                                                                       FERTILITY LAB, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       GENERAL PARTNER OF ODESSA
                                                                       REGIONAL HOSPITAL, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNERS OF ODESSA
                                                                       REGIONAL HOSPITAL, LP:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       Steward Health OZ Fund, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer


                                                                       TRACO International Group S. de R.L.

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.
                                                                       Title: President




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                                                                       MEMBER OF ONSITE CARE MSO,
                                                                       LLC:

                                                                       OnSite Care, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF ONSITE
                                                                       CARE, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       PERMIAN BASIN CLINICAL
                                                                       SERVICES, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph August, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.




                                                                       MEMBER OF PERMIAN BASIN
                                                                       CLINICAL SERVICES, INC.:

                                                                       Odessa Regional Hospital, LP

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       PERMIAN PREMIER HEALTH
                                                                       SERVICES, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph August, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.




                                                                       MEMBER OF PERMIAN PREMIER
                                                                       HEALTH SERVICES, INC.:

                                                                       IASIS Healthcare Holdings, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       PHYSICIAN GROUP OF ARIZONA,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       PHYSICIAN GROUP OF ARKANSAS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       PHYSICIAN GROUP OF FLORIDA,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       PHYSICIAN GROUP OF LOUISIANA,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       PHYSICIAN GROUP OF UTAH, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       PODIATRIC PHYSICIANS
                                                                       MANAGEMENT OF ARIZONA, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       GENERAL PARTNER OF PP
                                                                       TRANSITION LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF PP
                                                                       TRANSITION LP:

                                                                       IASIS Healthcare Corporation

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF PP
                                                                       TRANSITION, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       BOARD OF DIRECTORS OF QUINCY
                                                                       MEDICAL CENTER, A STEWARD
                                                                       FAMILY HOSPITAL, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.


                                                                       STOCKHOLDER OF QUINCY
                                                                       MEDICAL CENTER, A STEWARD
                                                                       FAMILY HOSPITAL, INC.:

                                                                       Steward Medical Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF RIVERWOODS ASC
                                                                       HOLDCO LLC:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       GENERAL PARTNER OF SALT LAKE
                                                                       REGIONAL MEDICAL CENTER, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNERS OF SALT LAKE
                                                                       REGIONAL MEDICAL CENTER, LP:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF SALT
                                                                       LAKE REGIONAL PHYSICIANS, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       MEMBER OF SEABOARD
                                                                       DEVELOPMENT LLC:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF SEABOARD
                                                                       DEVELOPMENT PORT ARTHUR
                                                                       LLC:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF SHC
                                                                       YOUNGSTOWN OHIO LABORATORY
                                                                       SERVICES COMPANY LLC:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF SHC YOUNGSTOWN
                                                                       OHIO LABORATORY SERVICES
                                                                       COMPANY LLC:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF SHC
                                                                       YOUNGSTOWN OHIO OUTPATIENT
                                                                       SERVICES LLC:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF SHC YOUNGSTOWN
                                                                       OHIO OUTPATIENT SERVICES LLC:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF SHC
                                                                       YOUNGSTOWN OHIO PSC LLC:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF SHC YOUNGSTOWN
                                                                       OHIO PSC LLC:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGER OF SJ MEDICAL CENTER,
                                                                       LLC:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       SOUTHRIDGE PLAZA HOLDINGS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       GENERAL PARTNER OF
                                                                       SOUTHWEST GENERAL HOSPITAL,
                                                                       LP:

                                                                       IASIS Healthcare Holdings, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNERS OF
                                                                       SOUTHWEST GENERAL HOSPITAL,
                                                                       LP:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       GENERAL PARTNER OF ST. LUKE’S
                                                                       BEHAVIORAL HOSPITAL, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF ST. LUKE’S
                                                                       BEHAVIORAL HOSPITAL, LP:

                                                                       IASIS Healthcare Corporation



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       GENERAL PARTNER OF ST. LUKE’S
                                                                       MEDICAL CENTER, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF ST. LUKE’S
                                                                       MEDICAL CENTER, LP:

                                                                       IASIS Healthcare Corporation



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ACCOUNTABLE CARE
                                                                       ORGANIZATION, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF STEWARD
                                                                       ACCOUNTABLE CARE
                                                                       ORGANIZATION, INC.:

                                                                       Steward Healthcare Network, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ANESTHESIOLOGY
                                                                       PHYSICIANS OF FLORIDA, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ANESTHESIOLOGY
                                                                       PHYSICIANS OF MASSACHUSETTS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




                                                                       MEMBER OF STEWARD
                                                                       ANESTHESIOLOGY PHYSICIANS OF
                                                                       MASSACHUSETTS, INC.:

                                                                       Steward Medical Group, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ANESTHESIOLOGY
                                                                       PHYSICIANS OF PENNSYLVANIA,
                                                                       INC.


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       MEMBER OF STEWARD ASC
                                                                       HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                                                       MANAGING MEMBER OF STEWARD
                                                                       ASC HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD CARNEY HOSPITAL, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       CARNEY HOSPITAL, INC.:

                                                                       Steward Hospital Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD CGH, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD CGH,
                                                                       INC.:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD EASTON HOSPITAL, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF STEWARD
                                                                       EASTON HOSPITAL, INC.:

                                                                       Steward Pennsylvania Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD EMERGENCY
                                                                       PHYSICIANS OF ARIZONA, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       EMERGENCY PHYSICIANS OF
                                                                       ARIZONA, INC.:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD EMERGENCY
                                                                       PHYSICIANS OF FLORIDA, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       MEMBER OF STEWARD
                                                                       EMERGENCY PHYSICIANS OF
                                                                       FLORIDA, INC.:

                                                                       Steward Medical Group, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD EMERGENCY
                                                                       PHYSICIANS OF PENNSYLVANIA,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD EMERGENCY
                                                                       PHYSICIANS OHIO, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       MEMBER OF STEWARD
                                                                       EMERGENCY PHYSICIANS OHIO,
                                                                       INC.:

                                                                       Steward Medical Group, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD EMERGENCY
                                                                       PHYSICIANS, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.

                                                                       MEMBER OF STEWARD
                                                                       EMERGENCY PHYSICIANS, INC.:

                                                                       Steward Medical Group, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF STEWARD EMPLOYER
                                                                       SOLUTIONS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                                                       MANAGING MEMBER OF STEWARD
                                                                       EMPLOYER SOLUTIONS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF STEWARD FALL RIVER
                                                                       MANAGEMENT CARE SERVICES
                                                                       LLC:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                                                       MANAGING MEMBER OF STEWARD
                                                                       FALL RIVER MANAGEMENT CARE
                                                                       SERVICES LLC:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       FLORIDA ALF LLC:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD FLORIDA
                                                                       ALF LLC:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       FLORIDA ASC LLC:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD FLORIDA
                                                                       ASC LLC:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF STEWARD FLORIDA
                                                                       HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member




                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MANAGING MEMBER OF STEWARD
                                                                       FLORIDA HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD FMC, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD FMC,
                                                                       INC.:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD GOOD SAMARITAN
                                                                       MEDICAL CENTER, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD
                                                                       GOOD SAMARITAN MEDICAL
                                                                       CENTER, INC.:

                                                                       Steward Hospital Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD GOOD SAMARITAN
                                                                       OCCUPATIONAL HEALTH
                                                                       SERVICES, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD
                                                                       GOOD SAMARITAN OCCUPATIONAL
                                                                       HEALTH SERVICES, INC.:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD GOOD SAMARITAN
                                                                       RADIATION ONCOLOGY CENTER,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD
                                                                       GOOD SAMARITAN RADIATION
                                                                       ONCOLOGY CENTER, INC.:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF STEWARD HEALTH
                                                                       CARE INTERNATIONAL LLC:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MANAGING MEMBER OF STEWARD
                                                                       HEALTH CARE INTERNATIONAL
                                                                       LLC:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HEALTH CARE
                                                                       NETWORK ACO TEXAS, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph August, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.



                                                                       MEMBER OF STEWARD HEALTH
                                                                       CARE NETWORK ACO TEXAS, INC.:

                                                                       Steward Health Care Network, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HEALTH CARE
                                                                       NETWORK, INC.:


                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       HEALTH CARE NETWORK, INC.:

                                                                       Stewardship Health, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HEALTH CARE OZ FUND,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       HEALTH CARE SYSTEM LLC:

                                                                       Steward Health Care Holdings LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD HEALTH
                                                                       CARE SYSTEM LLC:

                                                                       Steward Health Care Holdings LLC




                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HEALTH CHOICE, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       MANAGING MEMBER OF STEWARD
                                                                       HEALTHCARE MANAGEMENT
                                                                       SERVICES LLC:

                                                                       Steward Health Care Network, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD
                                                                       HEALTHCARE MANAGEMENT
                                                                       SERVICES LLC:

                                                                       Steward Health Care Network, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HH, INC.:


                                                                       By:                                   _
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF STEWARD HH,
                                                                       INC.:


                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HILLSIDE
                                                                       REHABILITATION HOSPITAL, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       HILLSIDE REHABILITATION
                                                                       HOSPITAL, INC.:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HOLY FAMILY
                                                                       HOSPITAL, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD HOLY
                                                                       FAMILY HOSPITAL, INC.:

                                                                       Steward Hospital Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       HOSPITAL HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD HOSPITAL
                                                                       HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD HOSPITAL HOLDINGS
                                                                       SUBSIDIARY ONE, INC.:


                                                                       By:                                    _
                                                                       Name: Michael Callum, M.D.

                                                                       By:                                    _
                                                                       Name: Ralph de la Torre, M.D.


                                                                       STOCKHOLDER OF STEWARD
                                                                       HOSPITAL HOLDINGS SUBSIDIARY
                                                                       ONE, INC.:

                                                                       Steward Florida ALF LLC

                                                                       By: Steward Florida Holdings LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       IMAGING & RADIOLOGY HOLDINGS
                                                                       LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer


                                                                       MEMBER OF STEWARD IMAGING &
                                                                       RADIOLOGY HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD MEDICAID CARE
                                                                       NETWORK, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF STEWARD
                                                                       MEDICAID CARE NETWORK, INC.:

                                                                       Steward Healthcare Network, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD MEDICAL GROUP
                                                                       EXPRESS CARE, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       MEMBER OF STEWARD MEDICAL
                                                                       GROUP EXPRESS CARE, INC.:

                                                                       Steward Medical Group, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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DocuSign Envelope ID: A93BBFBF-1E20-40B2-8F14-1C549C516924
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD MEDICAL GROUP, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       MEMBER OF STEWARD MEDICAL
                                                                       GROUP, INC.:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       MEDICAL GROUP PENNSYLVANIA
                                                                       ENDOSCOPY LLC:

                                                                       Steward Medical Group, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD MEDICAL
                                                                       GROUP PENNSYLVANIA
                                                                       ENDOSCOPY LLC:

                                                                       Steward Medical Group, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF STEWARD MEDICAL
                                                                       HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MANAGING MEMBER OF STEWARD
                                                                       MEDICAL HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD MEDICAL VENTURES,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       MEMBER OF STEWARD MEDICAL
                                                                       VENTURES, INC.:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD MELBOURNE HOSPITAL
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




                                                                       STOCKHOLDER OF STEWARD
                                                                       MELBOURNE HOSPITAL INC.:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD NEW ENGLAND
                                                                       INITIATIVES, INC.:


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.



                                                                       STOCKHOLDER OF STEWARD NEW
                                                                       ENGLAND INITIATIVES, INC.:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD NORWOOD HOSPITAL,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       NORWOOD HOSPITAL, INC.:

                                                                       Steward Hospital Holdings LLC

                                                                       By: Steward Health Care System
                                                                       LLC, its Managing Member

                                                                       By: Steward Health Care Holdings
                                                                       LLC, its Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD NSMC, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD
                                                                       NSMC, INC.:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       OHIO HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD OHIO
                                                                       HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MEMBER OF STEWARD
                                                                       OPERATIONS HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MANAGING MEMBER OF STEWARD
                                                                       OPERATIONS HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD PATHOLOGY
                                                                       PHYSICIANS OF MASSACHUSETTS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       MEMBER OF STEWARD
                                                                       PATHOLOGY PHYSICIANS OF
                                                                       MASSACHUSETTS, INC.:

                                                                       Steward Medical Group, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       PENNSYLVANIA HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD
                                                                       PENNSYLVANIA HOLDINGS LLC:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGERS OF STEWARD PET
                                                                       IMAGING, LLC:

                                                                       Steward Good Samaritan Medical
                                                                       Center, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       Steward Norwood Hospital, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       Steward St. Anne’s Hospital Corporation


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       Steward St. Elizabeth’s Medical Center of
                                                                       Boston, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD PGH, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD PGH,
                                                                       INC.:

                                                                       By: Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD PHYSICIAN
                                                                       CONTRACTING, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




                                                                       MEMBER OF STEWARD PHYSICIAN
                                                                       CONTRACTING, INC.:

                                                                       Steward Medical Group, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD RADIOLOGY
                                                                       PHYSICIANS OF ARIZONA, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       RADIOLOGY PHYSICIANS OF
                                                                       ARIZONA, INC.:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD RADIOLOGY
                                                                       PHYSICIANS OF FLORIDA, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       MEMBER OF STEWARD
                                                                       RADIOLOGY PHYSICIANS OF
                                                                       FLORIDA, INC.:

                                                                       Steward Medical Group, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD RADIOLOGY
                                                                       PHYSICIANS OF MASSACHUSETTS,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       MEMBER OF STEWARD
                                                                       RADIOLOGY PHYSICIANS OF
                                                                       MASSACHUSETTS, INC.:

                                                                       Steward Medical Group, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD RADIOLOGY
                                                                       PHYSICIANS OF PENNSYLVANIA,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ROCKLEDGE HOSPITAL,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       ROCKLEDGE HOSPITAL, INC.:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD SA FSED HOLDINGS, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD SA
                                                                       FSED HOLDINGS, INC.:

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD SEBASTIAN RIVER
                                                                       MEDICAL CENTER, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.



                                                                       STOCKHOLDER OF STEWARD
                                                                       SEBASTIAN RIVER MEDICAL
                                                                       CENTER, INC.:

                                                                       Steward Florida Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD SHARON REGIONAL
                                                                       HEALTH SYSTEM, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




                                                                       STOCKHOLDER OF STEWARD
                                                                       SHARON REGIONAL HEALTH
                                                                       SYSTEM, INC.:

                                                                       Steward Pennsylvania Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       SPECIAL PROJECTS LLC:

                                                                       Steward Good Samaritan Occupational
                                                                       Health Services, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD SPECIAL
                                                                       PROJECTS LLC:

                                                                       Steward Good Samaritan Occupational
                                                                       Health Services, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ST. ANNE’S HOSPITAL
                                                                       CORPORATION:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF STEWARD ST.
                                                                       ANNE’S HOSPITAL CORPORATION

                                                                       Steward Hospital Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ST. ELIZABETH’S
                                                                       MEDICAL CENTER OF BOSTON,
                                                                       INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       STOCKHOLDER OF STEWARD ST.
                                                                       ELIZABETH’S MEDICAL CENTER OF
                                                                       BOSTON, INC.:

                                                                       Steward Hospital Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD ST. ELIZABETH’S
                                                                       REALTY CORP.:


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.


                                                                       STOCKHOLDER OF STEWARD ST.
                                                                       ELIZABETH’S REALTY CORP.:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       TEXAS HOSPITAL HOLDINGS LLC:

                                                                       IASIS Healthcare LLC


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD TEXAS
                                                                       HOSPITAL HOLDINGS LLC:

                                                                       IASIS Healthcare LLC



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD TRUMBULL MEMORIAL
                                                                       HOSPITAL, INC.:



                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.




                                                                       STOCKHOLDER OF STEWARD
                                                                       TRUMBULL MEMORIAL HOSPITAL,
                                                                       INC.:

                                                                       Steward Ohio Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       MANAGING MEMBER OF STEWARD
                                                                       TSC INVESTMENTS LLC:

                                                                       Steward ASC Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       MEMBER OF STEWARD TSC
                                                                       INVESTMENTS LLC:

                                                                       Steward ASC Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD VALLEY REGIONAL
                                                                       VENTURES, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD
                                                                       VALLEY REGIONAL VENTURES,
                                                                       INC.:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARD WEST VENTURES, CO.

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       STOCKHOLDER OF STEWARD WEST
                                                                       VENTURES, CO.

                                                                       IASIS Healthcare LLC

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARDSHIP HEALTH, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Mark Girard, M.D.


                                                                       STOCKHOLDER OF STEWARDSHIP
                                                                       HEALTH, INC.:

                                                                       Steward Operations Holdings LLC

                                                                       By: Steward Health Care System LLC, its
                                                                       Managing Member

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       GENERAL PARTNER OF THE
                                                                       MEDICAL CENTER OF SOUTHEAST
                                                                       TEXAS, LP:

                                                                       IASIS Healthcare Holdings, Inc.



                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF THE
                                                                       MEDICAL CENTER OF SOUTHEAST
                                                                       TEXAS, LP:

                                                                       Beaumont Hospital Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       GENERAL PARTNER OF TNC
                                                                       TRANSITION, LP:

                                                                       IASIS Healthcare Holdings, Inc.


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       LIMITED PARTNER OF TNC
                                                                       TRANSITION, LP:

                                                                       IASIS Healthcare Corporation


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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DocuSign Envelope ID: A93BBFBF-1E20-40B2-8F14-1C549C516924
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                                                                       CLASS A MEMBER OF TRACO
                                                                       INVESTMENT MANAGEMENT LLC

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member


                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer

                                                                       CLASS B MEMBER OF TRACO
                                                                       INVESTMENT MANAGEMENT LLC

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer


                                                                       MANAGING MEMBER OF TRACO
                                                                       INVESTMENT MANAGEMENT LLC

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




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                                                                       BOARD OF DIRECTORS OF UTAH
                                                                       TRANSCRIPTION SERVICES, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Ralph de la Torre, M.D.




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                                                                       CONSENT TO “SHCS PREFERRED
                                                                       INTERESTS CONSENT MATTERS”
                                                                       FOR EACH OF THE COMPANIES
                                                                       LISTED ON SCHEDULE A, AS
                                                                       APPLICABLE:

                                                                       Steward Health Care System LLC

                                                                       By: Steward Health Care Holdings LLC, its
                                                                       Managing Member



                                                                       By: ____________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
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                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARDSHIP HEALTH MEDICAL
                                                                       GROUP, INC.:


                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.

                                                                       By: ________________________________
                                                                       Name: Joseph Weinstein, M.D.




                                            [Signature Page to Omnibus Action by Written Consent]
DocuSign Envelope ID: A93BBFBF-1E20-40B2-8F14-1C549C516924
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                                                                       MEMBER OF STEWARDSHIP
                                                                       HEALTH MEDICAL GROUP, INC.:

                                                                       Stewardship Health, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                            [Signature Page to Omnibus Action by Written Consent]
DocuSign Envelope ID: A93BBFBF-1E20-40B2-8F14-1C549C516924
                    Case 24-90296 Document 1 Filed in TXSB on 05/06/24 Page 190 of 200




                                                                       BOARD OF DIRECTORS OF
                                                                       STEWARDSHIP SERVICES, INC.:

                                                                       By: ________________________________
                                                                       Name: Michael Callum, M.D.


                                                                       By: ________________________________
                                                                       Name: Mark Girard, M.D.



                                                                       STOCKHOLDER OF STEWARDSHIP
                                                                       SERVICES, INC.:

                                                                       Stewardship Health, Inc.

                                                                       By: ________________________________
                                                                       Name: Mark Rich
                                                                       Title: Treasurer




                                          [Signature Page to Omnibus Action by Written Consent]
                        Case 24-90296 Document 1 Filed in TXSB on 05/06/24 Page 191 of 200


 Fill in this information to identify the case:

 Debtor name: Steward St. Anne’s Hospital Corporation
 United States Bankruptcy Court for the Southern District of Texas
                                               (State)
 Case number (If known):      24-_____ ( )                                                                                                 ☐ Check if this is an
                                                                                                                                                amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                              12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
claims.
Name of creditor and complete mailing address,            Name, telephone number, and email         Nature of the      Indicate if      Amount of unsecured claim
including zip code                                        address of creditor contact                    claim          claim is        If the claim is fully unsecured, fill in only
                                                                                                    (for example,     contingent,       unsecured claim amount. If claim is partially
                                                                                                     trade debts,    unliquidated,      secured, fill in total claim amount and
                                                                                                     bank loans,      or disputed       deduction for value of collateral or setoff to
                                                                                                     professional                       calculate unsecured claim.
                                                                                                    services, and
                                                                                                     government
                                                                                                      contracts)
                                                                                                                                          Total        Deduction      Unsecured claim
                                                                                                                                        claim, if     for value of
                                                                                                                                        partially     collateral or
                                                                                                                                        secured          setoff
1    Change Healthcare LLC                                Attn.: Chris Zaetta, General Counsel
     Attn.: Chris Zaetta, General Counsel                 Phone: (888) 445‐8745                     Trade Debt &
     2771 Momentum Place                                  Email: czaetta@optum.com                                                                                    $71,070,544.59
                                                                                                      Advances
     Chicago, Illinois 60689‐5327

2    Philips North America LLC                            Attn.: Mark Collins, Director of
     Attn.: Mark Collins, Director of Corporate           Corporate Accounts
     Accounts                                             Phone: (609) 668‐7299                      Trade Debt                                                       $50,189,970.00
     22100 Bothell‐Everett Highway, MS 522                Email: mark.collins@philips.com
     Bothell, Washington 98021

3    Medline Industries, LP                               Attn.: Jeff Fair, VP of National
     Attn.: Jeff Fair, VP of National Accounts            Accounts
     1 Medline Place                                      Phone: (615) 504‐3930                      Trade Debt                                                       $43,245,837.88
     Mundelein, Illinois 60060                            Email: jfair@medline.com

4    AYA Healthcare, Inc.                                 Attn.: Laura MacNeel, General
     Attn.: Laura MacNeel, General Counsel                Counsel                                   Trade Debt &
     5930 Cornerstone Court West, Suite 300               Phone: (866) 687‐7390                                        Disputed                                       $42,247,240.44
                                                                                                      Litigation
     San Diego, California 92121                          Email: lmacneel@ayahealthcare.com

5    Cerner Corporation                                   Attn.: Robert Boston
     Attn.: Robert Boston                                 Phone: (615) 850‐8953                     Trade Debt &
     511 Union Street, Suite 2700                         Email: bboston@wallerlaw.com                                 Disputed                                       $37,510,259.16
                                                                                                      Litigation
     Nashville, Tennessee 37219‐8966

6    Center for Medicare and Medicaid Services            Attn.: T. Whitmore ‐ Overpayment
     Attn.: T. Whitmore ‐ Overpayment Recovery Unit       Recovery Unit
     P.O. Box 7040                                        Phone: (800) 633‐4227
                                                                                                   MAAPP Loans                                                        $32,162,911.00
     Indianapolis, Indiana 46207‐7040                     Email:
                                                          jkextendedrepaymentschedules@anth
                                                          em.com
7    Cross Country Healthcare, Inc.                       Attn.: Susan E. Ball, General Counsel
     Attn.: Susan E. Ball, General Counsel                Phone: (561) 998‐2232
     6551 Park of Commerce Boulevard                      Email: sball@crosscountry.com              Trade Debt                                                       $31,084,880.39
     Boca Raton, Florida 33487




 Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 1
                        Case 24-90296 Document 1 Filed in TXSB on 05/06/24 Page 192 of 200
Debtor      Steward St. Anne’s Hospital Corporation                                                    Case number (if known)           24-_____ ( )
            Name

Name of creditor and complete mailing address,           Name, telephone number, and email         Nature of the      Indicate if      Amount of unsecured claim
including zip code                                       address of creditor contact                    claim          claim is        If the claim is fully unsecured, fill in only
                                                                                                   (for example,     contingent,       unsecured claim amount. If claim is partially
                                                                                                    trade debts,    unliquidated,      secured, fill in total claim amount and
                                                                                                    bank loans,      or disputed       deduction for value of collateral or setoff to
                                                                                                    professional                       calculate unsecured claim.
                                                                                                   services, and
                                                                                                    government
                                                                                                     contracts)
                                                                                                                                         Total        Deduction      Unsecured claim
                                                                                                                                       claim, if     for value of
                                                                                                                                       partially     collateral or
                                                                                                                                       secured          setoff
8    Prolink Healthcare, LLC                             Attn.: Tony Munafo, President & CEO
     Attn.: Tony Munafo, President & CEO                 Phone: (602) 883‐4525
     4050 E. Cotton Center Boulevard                     Email: marketing@prolink.com              Trade Debt &
                                                                                                                      Disputed                                       $30,771,115.61
     Building 3, Suite 37                                                                            Litigation
     Phoenix, Arizona 85040

9    Internal Revenue Service                            Attn.: Centralized Insolvency
     Attn.: Centralized Insolvency Operation             Operation                                  CARES Act
     P.O. Box 7346                                       Phone: (800) 973‐0424                    Deferred FICA                                                      $28,357,915.63
     Philadelphia, Pennsylvania 19101                    Facsimile: (855) 235‐6787                 Tax Liability

10   Centura Health Corporation                          Attn.: Tom Donohoe, SVP & General
     Attn.: Tom Donohoe, SVP & General Counsel           Counsel                                   Contractual
     2800 Rockcreek Parkway                              Phone: (720) 215‐9662                                                                                       $28,095,544.05
                                                                                                   Obligation
     Kansas City, Missouri 64117                         Email: tomdonohoe@centura.org

11   Medtronic, Inc.                                     Attn.: Ivan Fong, EVP & General
     Attn.: Ivan Fong, EVP & General Counsel             Counsel
     8200 Coral Sea Street NE, MVC 22                    Phone: (763) 526‐1356                      Trade Debt                                                       $24,729,130.00
     Mounds View, Minnesota 55112                        Email: ifong@medtronic.com

12   Sodexo, Inc.                                        Attn.: Daniel T. Bueschel, CEO,
     Attn.: Daniel T. Bueschel, CEO, Healthcare          Healthcare
     P.O. Box 360170                                     Phone: (215) 867‐4721                      Trade Debt                                                       $15,474,541.53
     Pittsburgh, Pennsylvania 15262‐0001                 Email: daniel.bueschel@sodexo.com

13   Becton, Dickinson and Company                       Attn.: Chris Bresnahan, Sr. Portfolio
     Attn.: Chris Bresnahan, Sr. Portfolio Manager       Manager
     1 Becton Drive                                      Phone: (619) 816‐1044                      Trade Debt                                                       $14,967,528.36
     Franklin Lakes, New Jersey 07417‐1880               Email:
                                                         christopher.bresnahan@bd.com
14   Florida Agency for Healthcare Administration        Attn.: Andrew T. Sheeran, General
     Attn.: Andrew T. Sheeran, General Counsel           Counsel
     2727 Mahan Drive                                    Phone: (800) 955‐8771
                                                                                                    Trade Debt                                                       $14,492,098.16
     Tallahassee, Florida 32308                          Email:
                                                         andrew.sheeran@ahca.myflorida.com

15   Crothall Healthcare, Inc.                           Attn.: Michael Villani
     Attn.: Michael Villani                              Phone: (718) 490‐5084
     1500 Liberty Ridge Drive                            Email: michael.villani@crothall.com        Trade Debt                                                       $14,070,633.05
     Wayne, Pennsylvania 19087

16   Zimmer Biomet, Inc.                                 Attn.: Chad Phipps
     Attn.: Chad Phipps                                  Phone: 1 (800) 348‐9500
     345 East Main Street                                Email:                                     Trade Debt                                                       $12,570,962.27
     Warsaw, Indiana 46580                               legal.americas@zimmerbiomet.com

17   Express Scripts, Inc.                               Attn.: Adam Kautzner, President
     Attn.: Adam Kautzner, President                     Phone: (860) 810‐6523
     21653 Network Place                                 Email: awkautzner@express‐                 Trade Debt                                                       $11,511,844.11
     Chicago, Illinois 60673‐1216                        scripts.com

18   HNI Healthcare, Inc.                                Attn.: Michael Gonzales, CEO &
     Attn.: Michael Gonzales, CEO & Founder              Founder                                   Trade Debt &
     7500 Rialto Boulevard, Building 1, Suite 140        Phone: (512) 730‐3060                                        Disputed                                       $11,300,634.08
                                                                                                     Litigation
     Austin, Texas 78735                                 Email: mgonzales@hnihealthcare.com




Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 2
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Debtor      Steward St. Anne’s Hospital Corporation                                                      Case number (if known)          24-_____ ( )
            Name

Name of creditor and complete mailing address,            Name, telephone number, and email          Nature of the     Indicate if      Amount of unsecured claim
including zip code                                        address of creditor contact                     claim         claim is        If the claim is fully unsecured, fill in only
                                                                                                     (for example,    contingent,       unsecured claim amount. If claim is partially
                                                                                                      trade debts,   unliquidated,      secured, fill in total claim amount and
                                                                                                      bank loans,     or disputed       deduction for value of collateral or setoff to
                                                                                                      professional                      calculate unsecured claim.
                                                                                                     services, and
                                                                                                      government
                                                                                                       contracts)
                                                                                                                                          Total        Deduction      Unsecured claim
                                                                                                                                        claim, if     for value of
                                                                                                                                        partially     collateral or
                                                                                                                                        secured          setoff
19   CloudMed, LLC                                        Attn.: Kyle Hicok
     Attn.: Kyle Hicok                                    Phone: (651) 788‐5080
     1100 Peachtree Street, Suite 1900                    Email: khicok@r1rcm.com                     Trade Debt                                                      $10,517,645.63
     Atlanta, Georgia 30309

20   Synergi Partners, Inc.                               Attn.: Tanisha Johnson, Manager of
     Attn.: Tanisha Johnson, Manager of Financial         Financial Services
     Services                                             Phone: (843) 519‐0808 (ext. 23395)          Trade Debt                                                      $10,112,309.75
     151 W. Evans Street                                  Email: tjohnson@synergipartners.com
     Florence, South Carolina 29501

21   Stryker Corp.                                        Attn.: Josh Clark, Director of Strategic
     Attn.: Josh Clark, Director of Strategic Sales       Sales
     1941 Stryker Way                                     Phone: (269) 389‐2963                       Trade Debt                                                       $8,387,409.66
     Portage, Michigan 49002                              Email: josh.clark@stryker.com

22   Abbott Healthcare, Inc.                              Attn.: Craig Ogg
     Attn.: Craig Ogg                                     Phone: (404) 432‐9550
     100 Abbott Park Road                                 Email: craig.ogg@abbott.com                 Trade Debt                                                       $8,172,673.67
     Abbott Park, Illinois 60064

23   General Electric Company                             Attn.: Frank R. Jimenez
     Attn.: Frank R. Jimenez                              Phone: (800) 437‐1171
     9900 W. Innovation Drive                             Email:                                      Trade Debt                                                       $7,577,883.91
     Wauwatosa, Wisconsin 53226                           frank.jimenez@gehealthcare.com

24   Health Catalyst, Inc.                                Attn.: Jason Alger, CAO
     Attn.: Jason Alger, CAO                              Phone: (855) 309‐6800
     10897 S. River Front Parkway, Suite 300              Email:                                      Trade Debt                                                       $7,118,044.20
     South Jordan, Utah 84095                             jason.alger@healthcatalyst.com

25   PricewaterhouseCoopers Advisory Services LLC         Attn.: David Tyburski
     Attn.: David Tyburski                                Phone: (347) 405‐4430
     4040 W. Boy Scout Boulevard                          Email: david.t.tyburski@pwc.com             Trade Debt                                                       $6,319,006.08
     Tampa, Florida 33607

26   Advantage Healthcare Staffing Services LLC           Attn.: Pat Treacy, General Counsel
     Attn.: Pat Treacy, General Counsel                   Email:
     191 Rosa Parks Street, 10th Floor                    patrick.treacy@staffmarkgroup.com           Trade Debt                                                       $6,273,801.18
     Cincinnati, Ohio 45202

27   Sound Physicians Anesthesiology of Texas, PLLC       Attn.: Steven McCarty, General
     Attn.: Steven McCarty, General Counsel               Counsel
     1498 Pacific Avenue, Suite 500                       Phone: (855) 768‐6363                       Trade Debt                                                       $6,137,435.75
     Tacoma, Washington 98402                             Email: steven.m.mccarty@gmail.com

28   Boston Scientific Corporation                        Attn.: Vance R. Brown, General
     Attn.: Vance R. Brown, General Counsel               Counsel
     300 Boston Scientific Way                            Phone: (508) 683‐5389                       Trade Debt                                                       $5,395,863.75
     Marlborough, Massachusetts 01752‐1234                Email: brownv@bsci.com




Official Form 204                                     List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 3
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Debtor      Steward St. Anne’s Hospital Corporation                                                Case number (if known)           24-_____ ( )
            Name

Name of creditor and complete mailing address,        Name, telephone number, and email        Nature of the      Indicate if      Amount of unsecured claim
including zip code                                    address of creditor contact                   claim          claim is        If the claim is fully unsecured, fill in only
                                                                                               (for example,     contingent,       unsecured claim amount. If claim is partially
                                                                                                trade debts,    unliquidated,      secured, fill in total claim amount and
                                                                                                bank loans,      or disputed       deduction for value of collateral or setoff to
                                                                                                professional                       calculate unsecured claim.
                                                                                               services, and
                                                                                                government
                                                                                                 contracts)
                                                                                                                                     Total        Deduction      Unsecured claim
                                                                                                                                   claim, if     for value of
                                                                                                                                   partially     collateral or
                                                                                                                                   secured          setoff
29   Finthrive, Inc.                                  Attn.: Jen Do
     Attn.: Jen Do                                    Phone: (972) 813‐4224
     7950 Legacy Drive, Suite 900                     Email: tsg@finthrive.com                  Trade Debt                                                        $5,376,881.39
     Plano, Texas 75024

30   ProMedical, LLC                                  Attn.: Doug Lucente, CEO
     Attn.: Doug Lucente, CEO                         Phone: (800) 722‐1555
     1 Militia Drive                                  Email: lucented@promedllc.com             Trade Debt                                                        $5,237,669.08
     Lexington, Massachusetts 02421




Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 4
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                   §
In re:                                             §       Chapter 11
                                                   §
STEWARD ST. ANNE’S HOSPITAL                        §       Case No. 24-_____ ([●])
CORPORATION,                                       §
                                                   §
                        Debtor.                    §
                                                   §

                  CONSOLIDATED CORPORATE OWNERSHIP
            STATEMENT PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

                Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational chart

reflecting the ownership interests in Steward Health Care Holdings LLC and its debtor affiliates

(each, a “Debtor” and collectively, the “Debtors”). Debtors respectfully represent as follows:

                1.          Steward Health Care Investors LLC and MPT Sycamore Opco LLC,

each a non-Debtor, own approximately 90.1% and 9.9%, respectively, of the outstanding equity

interests in Debtor Steward Health Care Holdings LLC. Steward Health Care Holdings LLC

owns 100% of the outstanding equity interests in Debtor Steward Health Care System LLC.

                2.          Steward Health Care System LLC owns, directly or indirectly, 100% of

the outstanding equity interests in the remaining Debtors with the following exceptions:1

                       a.     Collom & Carney Clinic Association, a non-Debtor, owns
                              approximately 11.62% of the outstanding equity interests in Debtor
                              Brim Healthcare of Texas, LLC.



1
    Only non-Debtor corporations that directly own 10% or more of a Debtor’s outstanding equity interests are
    included below.
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                      b.     Radiology Associates of Norwood, Inc., a non-Debtor, owns 25% of
                             the outstanding equity interests in Debtor Steward PET Imaging, LLC.

                      c.     TRACO International Group S. DE R.L., a non-Debtor, owns 30.17%
                             of Davis Hospital & Medical Center, LP.

                      d.     TRACO International Group S. DE R.L., a non-Debtor, owns 12.36%
                             of Odessa Regional Hospital, LP.

                      e.     TRACO International Group S. DE R.L., a non-Debtor, owns 99.99%
                             of TRACO Investment Management LLC.

               3.          To the best of the Debtors’ knowledge and belief, except as set forth

above, no other corporation directly or indirectly owns 10% or more of the outstanding equity

interests of any Debtor.




                                                  2
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                            Exhibit A

                       Organizational Chart
                                                                                                                                                                                                                                                                                  Case 24-90296 Document 1 Filed in TXSB on 05/06/24 Page 198 of 200




                                                                                                                                                                                                                                                                                                                                                                                                                                                            Steward
                                                                                                                                                                                                                                                                                                                                                                                                                                                           Health Care
                                                                                                                                                                                                                                                                                                                                                                                                                                                          Holdings LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                              (DE)




                                                                                                                                                                                                                                                                                                                                                                                                                                                          Steward Health
                                                                                                                                                                                                                                                                                                                                                                                                                                                           Care System
                                                                                                                                                                                                                                                                                                                                                                                                                                                             LLC (DE)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    0.01%                                 99%                                                      99%
                                                               Steward                                                               Steward                                               Steward                     Steward                                                                                                               Steward                                                   Steward                     Steward
Steward Imaging                                                                                                                                                                                                                                                                                            Steward Health                                                   Steward Easton                                                                                                                         Steward                                                           TRACO                          TRACO
                                                                Florida                                                              Hospital                                             Employer                    Operations                                                 Stewardship                                                 Medical                                                 Pennsylvania                    ASC                 IASIS Healthcare                                                                                                                                                                                                    Apice
  & Radiology                                                                                                                                                                                                                                                                                              Care Network,                                                     Hospital, Inc.                                                                                                                      Ohio Holdings                                                     Investment                    International             Steward Medical
                                                             Holdings LLC                                                          Holdings LLC                                         Solutions LLC                Holdings LLC                                               Health, Inc. (DE)                                          Holdings LLC                                              Holdings LLC                Holdings LLC            Corporation (DE)                                                                                                                                                                                                 Health LLC
 Holdings LLC                                                                                                                                                                                                                                                                                                 Inc. (DE)                                                          (DE)                                                                                                                              LLC (DE)                                                        Management                  Group S. DE R.L.            Group, Inc. (MA)
                                                                 (DE)                                                                  (DE)                                                  (DE)                        (DE)                                                                                                                  (DE)                                                      (DE)                        (DE)                                                                                                                                                                                                                                  (Panama)
     (DE)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           LLC (DE)            99.99%     (Panama)           1%                           1%


         75%

                                                                                                                                                  Steward Good                                                                                                                                                Steward                                                        Nashoba Valley                                         Steward                                           SHC                            SHC
   Steward                   Breast Imaging                                                                      Steward Carney                                                         Steward Fall                                                Steward Good                   Steward                                                 Blackstone                                               Steward Sharon
                                                            Steward Florida             Steward                                                     Samaritan                                                       Steward Valley                                                                          Accountable                                                      Medical Center,                                          TSC                                         Youngstown                      Youngstown                Steward Trumbull                                       Boston                    Steward                                                             Steward
 PET Imaging                   Centers of        51%                                                              Hospital, Inc.                                                            River                                                     Samaritan                    Special                                                  Medical                                                 Regional Health                                                                                                                                                                                                                                        Steward Medical                                                      Orchard
                                                             ASC LLC (DE)            NSMC, Inc. (DE)                                              Medical Center,                                                      Regional                                                                                 Care                                                        A Steward Family                                    Investments LLC                                                                                             Memorial Hospital,                               Sports Medicine                Emergency                                                          Radiology
  LLC (MA)                  Florida, LLC (FL)                                                                         (DE)                                                              Management                                                  Occupational                 Projects LLC                                            Center, Inc. (DE)                                          System, Inc. (DE)                                                            Ohio Laboratory                 Ohio PSC LLC                                                                                                                              Group Express                                            50%        Surgical
                                                                                                                                                     Inc. (DE)                                                      Ventures, Inc.                                                                          Organization,                                                   Hospital, Inc. (DE)                                                                                                                                                 Inc. (DE)                                     and Research                Physicians of                                                       Physicians of
                                                                                                                                                                                        Care Services                                              Health Services,                  (DE)                                                                                                                                             (DE)                                        Services Co.                       (DE)                                                                                                                                   Care, Inc. (MA)                                                 Center, LLC (NH)
                                                                                                                                                                                                                         (DE)                                                                                 Inc. (DE)                                                                                                                                                                                                                                                                     Institute, LLC (MA)          Florida, Inc. (DE)                                                 Florida, Inc. (DE)
                                                                                                                                                                                          LLC (DE)                                                     Inc. (DE)                                                                                                                                                                                                                    LLC (DE)

                                                                                                                                                                                                                                                                                                                                                                                                               51%                          9%

                                                                                                                                                                                                                                                                                                                                                                                                    Sharon Regional
                                                               Steward                  Steward                     Steward                                                          Steward Good                                                                                                          Steward Health                  Blackstone                         New England                                                                                                            SHC                      Steward Hillside                                                                                Steward                         Steward                           Steward
                               Steward                                                                                                             Steward Holy                                                       Steward St.                  Steward Medical               Stewardship                                                                                                          Diagnostic &                Texarkana
                                                             FMC, Inc. (DE)           PGH, Inc. (DE)               Norwood                                                             Samaritan                                                                                                            Care Network                  Rehabilitation                     Sinai Hospital,                                                                                                     Youngstown                    Rehabilitation                                                                               Emergency                      Medical Group                      Radiology                      Massachusetts
                             CGH, Inc. (DE)                                                                                                       Family Hospital,                                                    Elizabeth’s                   Ventures, Inc.              Health Medical                                                                                                      Imaging Center,             Surgery Center,                                                                                                                                             OnSite Care, Inc.
                                                                                                                  Hospital, Inc.                                                       Radiation                                                                                                           ACO Texas, Inc.                Hospital, Inc.                    A Steward Family                                                                                                    Ohio Outpatient                Hospital, Inc.                                                                              Physicians of                    Pennsylvania                     Physicians of          50%         Express
                                                                                                                                                     Inc. (DE)                                                        Realty Corp.                      (MA)                    Group, Inc. (MA)                                                                            Hospital, Inc. (DE)
                                                                                                                                                                                                                                                                                                                                                                                                    Neshannock LLC                 LP (DE)                                                                                                                                                        (DE)
                                                                                                                      (DE)                                                             Oncology                                                                                                                 (TX)                          (DE)                                                                                                                                               Services LLC                      (DE)                                                                                    Pennsylvania,                   Endoscopy LLC                    Massachusetts,                  Care, PLLC (MA)
                                                                                                                                                                                                                          (DE)                                                                                                                                                                            (PA)
                                                                                                                                                                                    Center, Inc. (DE)                                                                                                                                                                                                                                                                                                (DE)                                                                                                                    Inc. (MA)                          (DE)                           Inc. (MA)

                                                                                                                                                                                                                            66%                                                             48.83%

                                                                                         Steward                                                                                                                                                                                                              Steward
 NeuroSkeletal               Brevard SHC                                                                                                         Steward St.                               Steward                     Steward-                                                                                                                                                                                                                                                                                                                                                                                                                                 Steward                        Steward
                                                               Steward                  Rockledge                                                                                                                                                      Boston                       Altus                    Healthcare                  Morton Hospital,                        Quincy                                                                                                                                                                                                                                      Steward
 Imaging, LLC         51%    Holdings LLC                                                                        Steward Florida               Anne’s Hospital                            Health Care                  Compass                                                                                                                                                                                                                                                                                                                                                                                                                                Pathology                       Radiology
                                                              HH, Inc. (DE)            Hospital, Inc.                                                                                                                                                Orthopedic                    ACE, LLC                 Management                   A Steward Family                    Medical Center,                                                                                                                                                                                                                               Emergency
     (FL)                        (DE)                                                                             ALF LLC (DE)                 Corporation (DE)                          International               Ventures, LLC                                                                                                       Hospital, Inc. (DE)                A Steward Family                                                                                                                                                                                                                                                                 Physicians of                   Physicians of
                                                                                           (DE)                                                                                                                                                    Center, LLC (MA)                  (TX)                   Services LLC                                                                                                                                                                                                                                                                      OnSite Care                Physicians Ohio,
                                                                                                                                                                                           LLC (DE)                      (DE)                                                                                                                                               Hospital, Inc. (DE)                                                                                                                                                                                                                                                             Massachusetts,                   Pennsylvania,
                                                                                                                                                                                                                                                                                                                (DE)                                                                                                                                                                                                                                                                         MSO, LLC (DE)                  Inc. (MA)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Inc. (MA)                       Inc. (DE)

                                                                                                                                                                                                                            75%
                                                                                                                                                                                                                                                                                                                                                                                                      1%      99%                1%      99%                                    1%        99%              1%      99%               1%     99%                1%     99%
    Steward                    Steward                          Steward                                         Steward Hospital                    Steward St.
                                                                                                                                                     Elizabeth’s                                                                                                                                                                                                                                                                                                                                                                                                                               Steward                                                                                          Steward
Anesthesiology              Sebastian River                    Melbourne                                           Holdings                                                            Steward New                      Miller                                                                               Steward                                                                                                                                                                                                                                                                                                         Steward                          Steward
                                                                                                                                                   Medical Center                                                                                                                Stewardship                                                                                                                                                                                                                 St. Luke’s              St. Luke’s                                             Anesthesiology                                                                                  Anesthesiology
  Physicians of             Medical Center,                   Hospital, Inc.                                    Subsidiary One,                                                           England                   Street Medical                                                                         Medicaid Care                                                                              Mesa General                                       IASIS Healthcare                                                                                                                                                   Emergency                        Physician
                                                                                                                                                   of Boston, Inc.                                                                                                               Services Inc.                                                                                                                                  MT Transition LP                               PP Transition LP             Behavioral             Medical Center,            TNC Transition                 Physicians of                                                                                   Physicians of
Florida, Inc. (DE)             Inc. (DE)                          (DE)                                              Inc. (DE)                                                         Initiatives, Inc.            Center, LLC (MA)                                                                        Network, Inc.                                                                             Hospital, LP (DE)                                       LLC (DE)                                                                                                                                                     Physicians, Inc.                 Contracting, Inc.
                                                                                                                                                         (DE)                                                                                                                        (DE)                                                                                                                                             (DE)                                           (DE)                 Hospital, LP (DE)           LP (DE)                    LP (DE)                     Pennsylvania,                                                                                  Massachusetts,
                                                                                                                                                                                            (DE)                                                                                                               (DE)                                                                                                                                                                                                                                                                                                            (MA)                             (MA)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Inc. (DE)                                                                                       Inc. (MA)




                                                                                                                                                                                                                                                                                                                                                                50%                                                                                                                                                                                                   32%                    1%                                                                            1%      99%

                                                        Health Choice
                                                                                                         Indigent Care                                                                                                                                                                                                                            Health Choice                                                                      Beaumont                                                                                                                                                                                                                                                                             Northeast
       Arizona                                            Preferred                                                                                                  Steward Health                          Utah                                         Health Choice                                                Davis Hospital                                                                                                                                  Steward SA                                         Steward West                     NLV Healthcare                    IASIS Healthcare                                                           IASIS Glenwood                                    Louisiana
                            HC Essential Co.              Louisiana                                       Services of                                                                                                                                                                    IASIS Finance,                                             Preferred                  Physician Group         HealthUtah                     Hospital                                                                                                                                    1%                                                                                                                             25%
    Diagnostic &                                                                IASIS Capital                                          PP Transition,                Care OZ Fund,                       Transcription                                   Northern Arizona                                              Holdings, Inc.                                                                                                                                FSED Holdings,                                       Ventures, Co.                   Development, LP                      Holdings, Inc.                                                           Regional Medical                               Physician Hospital
                                 (TX)                     Physician                                        Northeast                                                                                                                                                                        Inc. (DE)                                             Arizona ACO                   of Arizona, Inc.     Holdco LLC (UT)                Holdings, Inc.
   Surgical Center,                                                            Corporation (DE)                                          Inc. (DE)                      Inc. (DE)                        Services, Inc.                                      LLC (AZ)                                                       (DE)                                                                                                                                        Inc. (DE)                                             (DE)                              (DE)                               (DE)                                                                  Center, LP (DE)                               Organization, Inc.
                                                       Association LLC                                   Louisiana, Inc.                                                                                                                                                                                                                            LLC (DE)                          (DE)                                              (DE)
      Inc. (DE)                                                                                                                                                                                              (DE)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             (LA)
                                                             (DE)                                             (DE)

                                                                                                                                                                                                                                                                        52%                                                     62.43%                                50%                   33.3%                                              87.39%
                                                                                                                                                                                                                                                                                                                                         1.57%                                                                                                                                                                                                                                                                                                                            50%                              33.33%                   33.33%
                                                        Health Choice                                                                                                                                                                                                                                                                                                            Health Choice                                      The Medical
     Choice Care                                                                                                                                                                                                                                          Health Choice                   IASIS Finance               Davis Hospital &                                          Preferred Arizona                        .93%
                             Health Choice             Preferred Texas                                                                                               Steward Health                        Heritage                                                                                                                                     TRACO                                                                        Center of                                                  Health Choice             Health Choice                                                           Permian                                                                  Northeast                                      Patient’s Choice
      Clinic of                                                                IASIS Finance II         Odessa Fertility             Riverwoods ASC                                            70%                                                       Integrated Care,                Texas Holdings,              Medical Center,                International                  Physician                                                                          Converse
                            Florida, Inc. (FL)          ACO – Alamo                                                                                                  Choice, Inc. (AZ)                   Technologies,                                                                                                                               Group S. DE                                                                     Southeast                                                    Preferred                   Utah                                    Choice Care              Premier Health         Choice Care               Choice Care                Louisiana            LHCG V, L.L.C.               Hospice &
    Louisiana, Inc.                                                               LLC (DE)               Lab, Inc. (DE)              Holdco LLC (DE)                                                                                                         LLC (AZ)                       LLC (DE)                      LP (DE)                                               Association LLC
                                                       Region LLC (DE)                                                                                                                                     LLC (AZ)                                                                                                                      30.17%           R.L.                                                                     Texas, LP (DE)                    Medical Center                                                                                                                                                                                                                                        Palliative Care
         (DE)                                                                                                                                                                                                                                                                                                                                                                          (DE)                                                                                                      Accountable               Accountable                                Clinic I, Inc.            Services, Inc.        Clinic II, Inc.           Clinic III, Inc.        Cancer Institute,           (LA)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LLC (TX)                                                                                                                                                                                                                                               Center of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Care LLC (DE)             Care LLC (DE)                             (Non-Profit) (TX)         (Non-Profit) (TX)     (Non-Profit) (TX)         (Non-Profit) (TX)           L.L.C. (LA)                                     Louisiana, L.L.C.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (LA)
                                                                                                                                                                                                                                                                                                                                                                                                                                               33.33%

                                                        Health Choice                                                                                                   Steward                                                                                                                                                                                                                                                       Jefferson                                                                                                                                                   40%                           40%
                                                                                                                                         Seaboard                                                        Podiatric                                                                                                     Jordan Valley
                             Health Choice             Preferred Texas                                                                                                 Radiology                                                                                                           Seaboard                                                                              Health Choice                                     County Clinical
     Choice Care                                                                                        Physician Group                Development                                                      Physicians                                              TRACO                                                    Hospital
                             Louisiana, Inc.             ACO – Gulf            IASIS Finance III                                                                      Physicians of            80%                                                                                        Development                                                                            Preferred Utah                                     Services, Inc.
    Clinic of Utah,
                                  (LA)                  Coast Region              LLC (DE)
                                                                                                         of Florida, Inc.             Port Arthur LLC
                                                                                                                                                                      Arizona, Inc.
                                                                                                                                                                                                      Management of
                                                                                                                                                                                                                                                              Internation
                                                                                                                                                                                                                                                               al Group                     LLC (UT)
                                                                                                                                                                                                                                                                                                                       Holdings, Inc.
                                                                                                                                                                                                                                                                                                                                                                                 ACO LLC (DE)                                        (Non-Profit)                                                                                                                                                                                                                                           Key
       Inc. (DE)                                                                                              (DE)                          (DE)                                                       Arizona, Inc.                                           S. DE R.L.                                                  (DE)                                                                                                                                                                 Legacy Trails                             Brim Holding
                                                          LLC (DE)                                                                                                        (DE)                                                                                                                                                                                                                                                          (TX)                           De Zavala                                                                                                              First Physicians
                                                                                                                                                                                                           (AZ)                                                                                                                                                                                                                                                                                 Medical Center                            Company, Inc.                                                             FPOG, LLC (TX)
                                                                                                                                                                                                                                                                       12.36%                                                                                                                                                                                        Medical Center
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  LLC (TX)                                    (DE)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 PLLC (TX)                                                     Guarantors                                           Debtors
                                                                                                                                                                                                     93.57%          1%                                  32.79%                                                                 79.36%                                                       50%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       LLC (TX)
                                                                                                                                                                                                                                                                                                                                          0.83%
                                                         Health Choice                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ABL/FILO Guarantor and                               Debtor
                             Health Choice              Preferred Texas                                                                                                Salt Lake                                                                                                                                                                                                                                                  SJ Medical Center                                                                                                                                                                                                    Bridge Loan Guarantor
                                                                                    IASIS                                               Southridge                                                     Southwest                                                                                                       Jordan Valley
    Davis Surgical           Managed Care                  Physician                                    Physician Group                                                 Regional                                                     42.5374%            Odessa Regional                 Mountain Point                                                                                                                             LLC (D/B/A St.
                                                                                 Management                                           Plaza Holdings,                                                    General
                                                                                                                                                                                                                                                         Hospital, LP (DE)
                                                                                                                                                                                                                                                                                                                      Medical Center,                  IASIS                                                                                            79.85%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     76.31%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       MPT Note Guarantor and/or
   Center Holdings,          Solutions LLC               Association –                                  of Louisiana, Inc.                                           Physicians, Inc.                                                                                                    Holdings LLC                                                Healthcare                                                                    Joseph Medical                                                                                                                                                                                                                                                           Non-Debtor
      Inc. (DE)                   (DE)                 Alamo Region LLC
                                                                                Company (DE)
                                                                                                              (DE)
                                                                                                                                         Inc. (DE)
                                                                                                                                                                          (DE)
                                                                                                                                                                                                     Hospital, LP (DE)                Steward
                                                                                                                                                                                                                                     Health Care                                             (DE)
                                                                                                                                                                                                                                                                                                                          LP (DE)                       LLC                                                                          Center) (TX)                                                                                                                                                                                                      Obligor
                                                              (DE)                                                                                                                                                                                                                                                                       17.43%                                                                                                                                                                 Brim Healthcare                 Brim
                                                                                                                                                                                                                                      OZ Fund,
                                                                                                                                                                                                                                                                                                                                                                                                                                                             Brim Physicians                                                                Healthcare                                                                                                 Stewardship Note Guarantor
                                                                                                                                                                                                                                        Inc.                                                                                                                                                                                                                                                                    of Colorado, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                Group of              Physician Group                                      of Texas, LLC
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   D/B/A Pikes
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Colorado, LLC           of Arkansas, Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Peak Regional
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           D/B/A Wadley                                                                                                MPT Real Estate Loan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (CO)                      (DE)                                          Regional Medical                                                                                                                                                            MPT
                                                         Health Choice                                                                   Steward                                                                                                                                                                                                                                                                                     Downtown                                                                     Hospital (CO)                                                                                                                        Agreement Guarantor
                             Health Choice              Preferred Texas
                                                                                                                                                                      Steward Texas
                                                                                                                                                                                                                                                          Permian Basin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Center (DE)                                                                                                                                                             Lessees
       Glenwood                                                                                                                         Emergency                    Hospital Holdings                   Biltmore                                                                        Mountain Vista                 Salt Lake                                                                                                     Houston
       Specialty
                               Preferred                   Physician
                                                                               IASIS Transco,
                                                                                                        Physician Group
                                                                                                                                       Physicians of                 LLC (D/B/A Scenic                Surgery Center         Biltmore Surgery                Clinical             1.1%   Medical Center,             Regional Medical                                                                                                Physician
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       MPT Master Lease I Guarantor
     Imaging, LLC
                             Louisiana ACO             Association – Gulf
                                                                                  Inc. (DE)
                                                                                                        of Utah, Inc. (UT)
                                                                                                                                       Arizona, Inc.                 Mountain Medical                  Holdings, Inc.        Center, Inc. (AZ)            Services, Inc.                    LP (DE)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           MPT Master Lease I
                               LLC (DE)                 Coast Regional                                                                                                                                                                                                           98.9%                         97.7% Center, LP (DE)                                                                                                  Hospital
          (DE)                                             LLC (DE)                                                                        (DE)                        Center) (DE)                        (DE)                                               (TX)                                                                        1%
                                                                                                                                                                                                                                                                                                                                                                                                                                    Organization                                                                                                                                                                                                      SHC Investors Loan Guarantor                         Lessee
                                                                                                                                                                                                                                                                                                                                                                                                                                  (Non-Profit) (TX)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Bridge Loan Guarantor but                            MPT Master Lease II
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      not ABL/FILO Guarantor                               Lessee
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              * All ownership percentages are 100% unless otherwise noted.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ** Percentages in boxes indicate ownership by IASIS HealthCare
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Holdings, Inc.
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                        §
In re:                                                  §           Chapter 11
                                                        §
STEWARD ST. ANNE’S HOSPITAL                             §           Case No. 24-_____ ([●])
CORPORATION,                                            §
                                                        §
                           Debtor.                      §
                                                        §

                                      LIST OF EQUITY HOLDERS1

                 Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies the equity security holders of the above-captioned debtor in possession

(the “Debtor”).

Check applicable box:

☐        There are no equity security holders or corporations that directly or indirectly own 10%
         or more of any class of the Debtor’s equity interest.

☒        The following are the Debtor’s equity security holders (list holders of each class, showing
         the number and kind of interests registered in the name of each holder, and the last
         known address or place of business of each holder):

    Name and Last Known Address or Place of                            Kind/Class of      Percentage/Number
              Business of Holder                                         Interest          of Interests Held

           Steward Hospital Holdings LLC
           1900 N. Pearl Street, Suite 2400                                Units                    100%
                Dallas, Texas 75201




1
     This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
     Procedure. All equity positions listed are as of the date of commencement of the Debtor’s chapter 11 case.

                                                  List of Equity Holders                                            1
          Case 24-90296 Document 1 Filed in TXSB on 05/06/24 Page 200 of 200




 Fill in this information to identify the case:

 Debtor name: Steward St. Anne’s Hospital Corporation
 United States Bankruptcy Court for the Southern District of Texas

 Case number (If known):        24-_____ ( )




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information
   is true and correct:

         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form 206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule ____
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
         Insiders (Official Form 204)
         Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity
         Holders

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on May 6, 2024
                                                   /s/ John R. Castellano
                     MM /DD /YYYY                      Signature of individual signing on behalf of debtor

                                                       John R. Castellano
                                                       Printed name

                                                       Chief Restructuring Officer
                                                       Position or relationship to debtor




 Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
